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                                    Appendix-A
USDC IN/ND case 4:23-cv-00071-JEM                      document 92-2               filed 10/15/24                page 2 of 236



      05/25/2022


      PROJECT
      PROPOSAL                                                                                            + 1 (312)884-9268
                                                                                                     chloe@tinycocoons.com
                                                                                                       www.tinycocoon1.com
                                                                                                                 210 E 3rd St
      Dan Weiskopf
                                                                                                        Brookston, IN -47923
      Seattle, WA
      20' Custom Tiny House on Wheels




        01                            SUMMARY                                       SPECs
                                      20' x 8' 6" OJstom-<lesigned tiny home        • The house will be built with standard
                                      on wheels buik to RVIA a nd NOAH                electric hookups, haokups lo septic

      THE PROJECT                     specification.                                  system and city waler system.
                                      • Two lofts occessible by ladders .           • The kitchen package indudes
                                      This hame can accommodate .( people             standard fixtures, a Formhause sink,
                                      with the two lofts. An area for a pull-out      matte black hardware, countertops
                                      sofa that can accommodote up to 2 .             are lo be solid oak chop-block.
                                      • This home is lo be built on a 20'           • The bathroom package includes a
                                      double<1xle bumper pull trailer. The            lanldess waler heater, single sink
                                      bumped area on the trailer hitch odds           vanity, tiles in shower, standing
                                      an additional -2•x .(' space                    shower kit, standard Rushing toilet,
                                      - The home is not lo be taller than 13'6"       a medicine cabinet, other essential
                                      from the ground.                                hardware.
                                                                                    • App~onces include a mini-split AC,
                                                                                      an indudion cooktop, a lop free:r.er
                                                                                      refrigerator, washer/ dryer combo.




        02

      DESIGN
      EXAMPLES

                                      EXTERIOR
                                      Cedar siding on the front bumpoul and
                                      port of the roof. Cedar trims, charcoal
                                      grey pointed exterior a nd charcoal
                                      grey board & batten. (charcoal color

       PROJECT PROPOSAL I PAGE 1/1.   can be reploced lo a different color).
                                       A exterior door on the south, storage
                                       or dog house in the trailer bumpout
                                       area.
USDC IN/ND case 4:23-cv-00071-JEM                    document 92-2             filed 10/15/24                 page 3 of 236




       02                          INTERIOR
                                   LIVING ROOM
                                   White ship-lop panels. laminate Roa,.

     DESIGN                        Recessed lightings.
                                   KITCHEN
     EXAMPLES                      Soft dose drawers and coblnetry such
                                   as pull-out trash bin, storage cabinets.
                                   Oak kitchen countertop. Motte block
                                   faucet and other essential hardware.
                                   BATHROOM
                                   White ship-lop panels, basic tiles in
                                   shower, ~bergloss shower kit, single
                                   sink vanity, standard Rushing toilet, o
                                   medicine cabinet, essential hardware
                                   and faucets in matte block.
                                   LOFT
                                   Two lofts, opotentiolly one king sized
                                   and one queen sized with ambiance
                                   wall-mount lights. Built-in divider.




       03                          STEP 1                                     Our design team will provide o pro-

                                   100% estimated cost due as a               posed Roorplon drawing and exterior
                                                                              interior designs and realistic rendering.
                                   deposit.
     WORK                          DESIGN ( 1 week)

     PROCCESS
                                   STEP 2                                     The client win review, revise and ap-

                                   APPROVAL & REVISION                        prove the design.




                                   STEP 3                                     The construction will be based on the

                                   CONSTRUCTION ( -3 months)                  approved design. There might be minor
                                                                              changes due lo material availabilities.



                                   STEP 4                                     We win work with o shipping company

                                   DELIVERY                                   that specializes in tiny home delivery


     PROJECT PROPOSAL I PAGE 2/'
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                                                                                         20' x 8'6" OFFER
                                                                                                $86,700
     ESTIMATED
     COST                                                                                          PRICE
                                    DESCRIPTION
     (custom de-
                                    20' x 8'6" Tiny Home built to RVIA and NOAH                    $86,700
     sign incl.)                    specification, 1 bathroom, 2 lofts with ladders.

                                    Delivery of these homes is paid diredly to the                     $0
                                    shipper at the time of completion. Estimated $2k -
                                    $3k to Seattle, WA.

                                    Indiana Sales Tax 7.00%                                         $6,069

                                                                                                   $92,769




                                    An invoice will be sent via Stripe
                                    from Tiny Cocoons Inc.

     PAYMENT                        Acceptable payment method
     METHOD                         electronically via Stripe
                                    (ACH transfer, credit card, debit
                                    card)




      PROJECT PROPOSAL I PAGE 3/4
USDC IN/ND case 4:23-cv-00071-JEM                   document 92-2                 filed 10/15/24                 page 5 of 236




        06                            1. PAYMENT                                   2. PROJECT TIMELINE
                                      Purchase temu of oll homes built by          Detovery is ta be 3 months from the
                                      Tiny Cocoons requin, 30% down at the         otart of conotrudion, depending on mo-

      TERMS &                         time of order, 30% at the ttme of exteri-   terial selectton, ava~abi&ty and supply
                                      or material purcha1e and .(0% paid at        chain sitvatton.
      CONDITIONS                      the ttme of interior material purcha1e.

                                                                                   4.OTHER
                                      3. CANCELLATION
                                                                                  Thi, quote ii good for 7 dayL
                                                                                  Tiny Cocoon, reserves the right to
                                                  We will work with you            adjust the final costs ii any unforeseen
                                      to reseU the home ii circumstances           Kenarios occur, such 01 material pric:es
                                      change.                                      hiking.


                                      5. WARRANTY                                 6. COPYRIGHT
                                                                                  The architectural drawing, interior d•
                                      All canslrudion work is guaranteed
                                                                                   sign work a nd content in this proposal
                                      far 2 years from the ttme of purchase
                                                                                  is copyright of Tiny Cocoons• C 2022.
                                      on our property. We wiU repair any
                                                                                  All rights reserved.
                                      craftsmanship elements at our laci&ty
                                                                                  Any redistributton or reproduction of
                                      ii you bring the hou1e to us. Materials,
                                                                                   part or all of the contents in any form
                                      apptoances, and mechanical com~
                                                                                  is prohibited. You may nol, except wilh
                                      nents are 1ub;ect ta the manufacturer
                                                                                  our expreu written permission, distrib-
                                      warranty.
                                                                                   ute or commercially exploit the content.
                                                                                  Nor may you transmit it or store it in
                                                                                  any other web,ite or other form of
                                                                                  electronic retrieval >yltem.




        07

      ACCEPTANCE                      FULL NAME                                   DATE

      FORM


                                                                                  SIGNATURE




      PROJECT PROPOSAL I PAGE J./J.
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                                    Appendix-B
           USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Update                                     document 92-2            filed 10/15/24         page 7 of9/19/23,
                                                                                                                              236 11:35 AM

 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    The team is working on trims and siding on the bump out section. We are expecting the exterior door to be delivered
    in two to three weeks. We are also getting quotes from different window suppliers who may have these windows
    delivered in a reasonable time.


    Thanks,
    Qhloe

    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                   Sat, Oct 29, 2022 at 10:41 PM
 To: ~hloe Liu <chloe@tinycocoons.com>

    Chloe,

    Did you receive quotes from the window suppliers and get a new timeline? At some point, we should talk on the phone
    about alternatives and other options if there continues to be supply chain issues or delays. We would like to get this
    wrapped up or get a solid timeline nailed down so we can plan.

    Thank you.

    [Quoted text hidden)



 Chloe Liu <chloe@tinycocoons.com>                                                                          Mon, Oct 31, 2022 at 2:33 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    The fastest delivery for the windows we've quoted is Jan. 2 so far. We are still researching to see other local suppliers
    for a faster lead time. In the meantime, the team is working on painting and the aesthetics of the exterior. We just put
    the exterior door in, see attached pictures. The interior work will start soon. I ·am asking Chris for an estimated time
    frame. The installation of the cedar did take a lot longer than we expected. The team is working hard each day. We
    want to wrap up this project and deliver it to you as well. Please be patient and trust us on building you a well-
    executed tiny house.


    Thanks,
    Chloe

    [Quoted text hidden]


     3 attachments




https:l/mail.google.com/mail/u/1/?ik=6bac2466b7&view=pt&search... mpl=msg-f:1755693988506132638&simpl=msg-a:r8030517963809727396   Page 8 of 14
          USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Form Submission - Tiny House Quote Form       document 92-2             filed 10/15/24          page 8 of9/19/23,
                                                                                                                                   236 11:29 AM



M Gmail                                                                                              Chioe Liu <-chloe@iinycocoons.com.>



 Form Submission -Tiny House Quote Form
 •

 Squarespace <fonn-submission@squarespace.info>                                                                  Sun, May 22, 2022 at 1:56 AM
 Reply-To: daniel.weiskopf@gmail.com
 To: hello@tinycocoons.com


     Sent via fonn submission from Tiny Cocoons

     Your Name: Dan Weiskopf

     Email: daniel.weiskopf@gmail.com

     Phone: (646) 326-3274

     Tell us about your project. Location, size, amenities, preferences etc.: we have 20 acres of waterfront land near
     Seattle. We will be building a vacation house but would like the Freeman (or something like it) so that my family can
     enjoy the property soon. It will become a guest house. The larger size of the freeman is nice. Our preference is to get
     something soon, so we are interested in timeline and price.

     The property is currently being prepped with a site planner for guest house area and main house area. Roads, power,
     septic, well is going in this summer and we could customize the site for the Freeman.

     Do you have the fund, or approved mortgage already? What is your budget? : We have the funds already.

     How did you hear about us?: Google Search, Other

     Does this submission look like spam? Report it here.



 Chloe Liu <chloe@tinycocoons.com>                                                                             Mon, May 23, 2022 at 10:51 AM
 To: daniel.weiskopf@gmail.com
 Cc: Tiny <hello@tinycocoons.com>

     Hi Dan,

     Thanks for contacting us about our tiny homes. Congratulations on the 20 acres! That sounds like a wonderful
     project.

     We specialize in custom building THOWs. We don't offer "models". Our design team will work with you on a floor plan
     and renderings that frt your needs before the construction. A unit similar to the Freeman specs 28'L x 8'6"W x 13'6"H
     costs around 130k. That includes appliances such as fridge, mini-split AC, induction cooktop, washer/dryer combo. It
     is a good size that you can have one bedroom and two lofts, or two lofts. Our current lead time is about 11 months
     right now.

     We do have a 20'L x 8'6"W x 13'6"H unit in construction currently, the exterior is about to be finished. We are putting
     the roof and exterior door on. It was a sample unit. This particular unit will have much shorter lead time. We just
     released it for sale last Friday, multiple clients have shown interest. We can finish this particular unit in 3 months. It is
     estimated at $82k at the current specs. We can customize the floor plan, interior and exterior for you. Please
     see attached proposal. I'm attaching a few example layouts as well. If timing is your priority, this smaller unit might be

https://mall.google.com/mail/u/1/?ik=6bac2466b7&view=pt&search= ... mpl=msg- f :1 733829000288996061&simpl=msg- a:r- 6466196348486369661   Page 1 of 9
            USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Thoughts after visit --path forward          document 92-2             filed 10/15/24          page 9 of9/19/23,
                                                                                                                                   236 11:35 AM



                Gmail                                                                              Chloe Liu <chloe@tmycocoons.com>



  Thoughts after visit--path forward
  18 rr        J

  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                      Thu, Jan 26, 2023 at 1 :46 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Beth <elizabeth.weiskopf@gmail.com>

     Chloe,

     Thank you for having us out. You guys are clearly fantastic artisans, and I have no doubt that Chris's work will be
     wonderful. I was really impressed with his ideas, his creativity, and how much he cares about his craft. The exterior
     looked great. And his potential plans for the interior were brilliant.

     Chris was also very straightforward with us about the progress on the house and the vast amounts of work that
     needed to be done. I appreciated that.

     I'd like to work through two issues with you: One, I have not been happy with communication between us and I want to
     fix that. Two, we need to figure out a concrete path forward.

     communjcatjon
     \1\/hen we signed up for this house, we were clear that we were contracting with you for this house because we were in
     a big hurry. There are lots of emails on this between us. We even agreed to pay the entire cost in cash up front-very
     unusual. But we did it because we understood you needed the funds to pay for everything to get done in 12 weeks.

     Since then, I feel that I've been getting information only when I bug you, and the information feels to be both vague
     and very optimistic that the build completion date is just around the comer. The team is hard at work, the interior will
     be done quickly, the build is going to be done soon, etc. Please look back through your emails and consider what I've
     received and how it might be perceived by me.

     I was not prepared for the state of the build--my expectation was that other than a window, the house was pretty close
     to being shipped. I believed the house was getting shipped in January and was not corrected. I understand there have
     been supply chain issues, and I understand the cedar took time. And I understand that things happen. But 12 weeks
     has turned into potential 12 months, a bunch of projects have bumped us in line, and I did not get clear information
     indicating a complete change to the program. And, again from our perspective, it is really asking a lot of us to be
     patient without information, when we sent all of this money up front.

     Moving forward, I'd ask that we receive specific deadlines for the project, and updates on the deadlines every week. If
     it is too difficult or time consuming to write this all down for us, we can send someone to check in on progress. We
     have a GC/builder in Bloomington who can help project manage this for us, and he can check in on progress and help
     with delays and help us understand what is going on. Let us know if that would help.


     Path forward
     After having talked to Beth and my builder, a May delivery of the tiny house is our hard deadline. We have a dry
     season out here also, and we have folks lined up to do work on the site with the house there this summer. And I plan
     to enjoy our property this summer with my family in a home. That was the point of this approach. So a delay beyond
     May won't work for us.

      Chris said our project is now #1 on his list and that he believes it can ship by May-1 O weeks. If you guys can make

 https://mail.google.com/mail/u/1f?ik=6bac2466b7&view=pt&search=a ... &simpl=msg-f :1759648585738413701&simpl=msg-f:1759816445371925131   Page 1 of 7
          USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Thoughts after visit--path forward         document 92-2             filed 10/15/24          page 10 of9/19/23,
                                                                                                                                  236 11:35 AM

    Dan

    Sent from my iPhone
    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                       Sun, Mar 5, 2023 at 6:44 PM
 To: Chloe Liu <chloe@tinycocoons.com>, Chris Baer <chris@tinycocoons.com>
 Cc: "Weiskopf, Elizabeth J." <Elizabeth.Weiskopf@klgates.com>

    Chloe, Chris,

    Confirm receipt and respond please. Thank you.

    Sent from my iPhone
    [Quoted tE.>xt hidden]



 Chloe Liu <chloe@tinycocoons.com>                                                      Mon, Mar 6, 2023 at 10:41 AM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>.
 Cc: Chris Baer <chris@tinycocoons.com>, "Weiskopf, Elizabeth J." <Elizabeth.Weiskopf@klgates.com>

    Hi Dan,

    Apologies for the late response. Chris went on a material run, I'll update you later once I confirm with him. The last
    things I heard were that they are ordering interior finishes and the glass for the front window. I didn't hear anything
    about delaying the May delivery. He did mention the good electrical box wasn't in stock. He was working on getting the
    right one.

    Thanks,
    Chloe

    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                               Mon, Mar 6, 2023 at 11 :29 AM
 To: Chloe Liu <chloe@tinycocoons.com>
 Cc: Chris Baer <chris@tinycocoons.com>, "Weiskopf, Elizabeth J." <Elizabeth.Weiskopf@klgates.com>

    Great. Please confirm once you talk to chris that we are all good. Thank you.

    If there are any issues that could cause delays, let me know and I can get folks to help find the item or trouble shoot.

    Dan

    Sent from my iPhone
    [Quoted text hidden]



 Chloe Liu <chJoe@tinycocoons.com>                                                       Mon, Mar 6, 2023 at 2:23 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>
 Cc: Chris Baer <chris@tinycocoons.com>, "Weiskopf, Elizabeth J." <Elizabeth.Weiskopf@klgates.com>

    Hi Dan,

    Chris said everything is moving foiward and on track. If there is a hold up, it will be the window glass they ordered. It's
    said to be a 7 week's delivery as of last week. But it can be put at the end to work on.

https:Jlmail.google.com/mail/u/1/?ik=6bac2466b7&view=pt&search=a ... simpl=msg-f:1759648585736413701&simpl=msg-f:1759816445371925131   Page 6 of 7
          USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Tra vel to Indiana                        document 92-2             filed 10/15/24         page 11 of9/19/23,
                                                                                                                                236 11:36 AM



                 Gmail                                                                            Chloe Liu <chloe@tinycocoons.com>



  Travel to Indiana
  7

  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                      Sat, Feb 4, 2023 at 9:45 AM
  To: Chloe Liu <chloe@tinycocoons.com>

      Chloe,

      We plan to be in Indiana April 10-14. I hope that timeline works for you all for another meeting. Thank you.



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                   Mon, Mar 27, 2023 at 6:04 PM
  To: Chloe Liu <chloe@tinycocoons.com>

      Chloe,

      I'll be in indiana in April. V\buld April 11 or 12 work?

      Also please let me know on progress when you can and if there are any issues I need to be aware of or provide
      infonnation on. Thank you.



  Chloe Liu <chloe@tinycocoons.com>                                                                          Tue, Mar 28, 2023 at 11 :15 AM
  To: Dan Weiskopf <daniel.weiskopf@gmail.com>

      Hi Dan ,

      I just confirmed with Chris. You can visit either April 11 or 12, but we will be in full swing on the interior. Trying to do
      electrical and insulation this week. Plus the window. Early May would be best.

      The front window glass was delivered, they are working on building the window.

      Thanks,
      Chloe




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          USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Meeting--thank you and follow up           document 92-2             filed 10/15/24          page 12 of9/19/23,
                                                                                                                                  236 11:37 AM



               Gmail                                                                              Chloe Liu <chloe@tmycocoons.com>



 Meeting--thank you and follow up

 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                       Sat, Apr 15, 2023 at 3:57 PM
 To: Chloe Liu <chloe@tinycocoons.com>, Chris Baer <chris@tinycocoons.com>
 Cc: Beth <elizabeth .weiskopf@gmail.com>

    Chris and Chloe,

    It was great meeting with Chris last Tuesday and I am glad everything seems on track.

    I believe most of the decisions were made on the spot:

    -the layout was all good and really defer to you .
    -Chris's thoughts on storage all seemed good. We defer to you.
    -We don't need a plug for the TV so that can be taken out of the wall.
    -Chris's plans for lighting were good.
    --In addition, we would like reading lights in the wall in master suite that we can control from bed.
    -3/4 wans (with the leaded windows that can be raised) on both lofts for extra privacy--awesome idea.
    -No shower door is needed. We will do "wet room" and shower curtain.
    --Stainless steel for the appliances.
    -No ice maker in fridge is good.
    -We will want to plan to have Wifi from the internet cable. Chris thought that the wifi box could go in the bottom of the
    window seat and he could wire so cords could be tucked away nicely.

    The open issue was interior color for floor walls ceiling and cabinets/accents. Chris said we might get some samples
    photos from you.

    We like the cedar interior but would like to have it stained light so we don't feel like we are inside a sauna and so that
    the space feels open. VVhat do you think of an antique white stain like the attached for the walls and ceiling with darker
    wood trim, beams, and accents? Not sure how the cabinets would frt into this. floor color in this photo is also nice but
    would defer to you.




https://mail.google.com/mail/u/1(llk=6bac2466b7&view=pt&search=a...lmpl=msg-f :1763 441226668669962&slmpl=msg- a:r6119600682799660921   Page 1 of 6
         USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Meeting--thank you and follow up           document 92-2            filed 10/15/24          page 13 of9/19/23,
                                                                                                                                 236 11:37 AM

             Chloe

             On Sat, Apr 15, 2023 at 3:57 PM Dan Weiskopf <daniel.weiskopf@gmail.com> wrote:
              I
              Chris and Chloe,

                  It was great meeting with Chris last Tuesday and I am glad everything seems on track.

                  I believe most of the decisions were made on the spot:

                 --the layout was all good and really defer to you.
                 --Chris's thoughts on storage all seemed good. We defer to you.
               • --We don't need a plug for the TV so that can be taken out of the wall.
                 --Chris's plans for lighting were good.
               I --ln addition, we would like reading lights in the wall in master suite that we can control from bed.
                 --3/4 wans (with the leaded windows that can be raised) on both lofts for extra privacy--awesome
                 idea.
                 -No shower door is needed. We will do ''wet room" and shower curtain .
                 --Stainless steel for the appliances.
                 --No ice maker in fridge is good.
                 --We will want to plan to have Wifi from the internet cable. Chris thought that the wifi box could go in
                 the bottom of the window seat and he could wire so cords could be tucked away nicely.

                  The open issue was interior color for floor walls ceiling and cabinets/accents. Chris said we might get
                  some samples photos from you.

                  We like the cedar interior but would like to have it stained light so we don't feel like we are inside a
                  sauna and so that the space feels open. What do you think of an antique white stain like the attached
                  for the walls and ceiling with darker wood trim, beams, and accents? Not sure how the cabinets would
                  flt into this. floor color in this photo is also nice but would defer to you .




  Chloe Liu <chloe@tinycocoons.com>                                                                          Mon, Apr 17, 2023 at 10:42 AM
  To: Dan Weiskopf <daniel.weiskopf@gmail.com>
  Cc: Chris Baer <chris@tinycocoons.com>, Beth <elizabeth.weiskopf@gmail.com>

     Hi Dan,

     Thank you for your feedback. It looks like there are many good options available with decent reviews for white fridge
     and white washer/dryer combo. I'll be happy to pick out white ones for our needs. Please let me know if you have any
     objections or preferences.

     -Chloe




  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                   Mon, Apr 17, 2023 at 12:23 PM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Chris Baer <chris@tinycocoons.com>, Beth <elizabeth.weiskopf@gmail.com>

     Great. As long as you think that will look good? I trust your eye over mine .

     Sent from my iPhone



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         USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Screenshot 2023-05-16 at 6.36.57 AM       document 92-2            filed 10/15/24          page 14 of9/19/23,
                                                                                                                                236 11:38 AM



    Hi Dan,

    We understand that you have received conflicting information from another tiny house l:>uilder, which has caused
    confusion and concern. We strive to provide accurate _and transparent information to our customers, and we apologize
    if there have been any misunderstandings or delays in communication.

    Please allow us to clarify the current situation. While it is true that some builders may be able to offer faster delivery
    times, it's important to note that each project and its requirements are unique. Factors such as customization,
    availability of materials, and the complexity of construction can impact the timeline. Honestly it is very magical that the
    tiny house builder car:i really deliver you a custom designed built tiny house in 6-8 weeks while maintaining high
    qualities. Almost all customers we are talking to right now say they understand the estimated 1+ year delivery since
    that's what they·got .from other companies as well. When we were struggling finding the window for the front bump out.
    I volunteered in jumping in calling a few suppliers and confirmed the long lead time. I also personally ordered a mini .
    split air conditioner last year for one project, but it hasn't come until today. These are my personal experiences about
    the delay. It is truly magic when hearing from a constructor that there is no impact on the supply chain at all.

    Last week, we completed the insulation phase of your unit, got the washer/dryer delivered. Currently working on
    getting the electrical system approved by the certified electrician, and other interior elements. We must acknowledge
    that we encountered some blockages on our side last year, which contributed to the delay. While we understand that
    this should not be an excuse and it is not your responsibility, we wanted to be transparent about the challenges we
    faced. Last week, Chris and I assessed the current status and provided ypu with a realistic delivery estimate. Based
    on our assessment, we anticipate that the completion of your custom unit will take an additional 4-6 weeks. The
    current main hold up is the air conditioner I'm sure Chris has told you. Because of the two loft's design, we need a
    special unit that's good in insulation. There are fewer companies that carry that model and very few ones offer 1o
    years warranty. Most companies offer a 2 year warranty. The g<;>od company that offers longer warranty says 4-6
    weeks for delivery. Therefore, it is likely that the delivery date will fall between the end of June and July. We are going
    full speed and want to finish the unit as much. Our current decisions are based on delivering you a good unit you guys
    deserve and not to cut comers. Please understand.



    Thanks,

    Chloe



    touoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                  Tue, May 16, 2023 at 11 :33 PM
 To: Chloe Liu <chloe@tinycocoons.com>
 Cc: Chris Baer <chris@tinycocoons.com>, Beth <elizabeth.weiskopf@gmail.com>

    Chloe,

    Thank you. I understand you guys don't cut comers and do great work. That's highly appreciated. That is not the
    issue.

    And delays and supply chain problems are not the issue. I've been understanding about that.

    The problem is the difficulty getting accurate and timely information. I've asked to be kept informed if there were any
    changes or delays. That is not an unreasonable request for a project that was sold to me (with payment in full) as
    being almost complete over a year ago. Ive now made two trips out to Indiana to get information. I never hear about

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                                                                                                                                9/19/23, 11:29 AM
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Tiny Cocoons Inc. Mail - Form Submission - Tiny House Quote Form      document 92-2             filed 10/15/24          page 15 of 236



                Gmail                                                                               Chloe Liu <chloe@tinycocoons.com>



  Form Submission -Tiny House Quote Form
  14 me:::,

 Squarespace <form-submission@squarespace.info>                                                                 Sun, May 22, 2022 at 1:56 AM
 Reply-To: daniel.weiskopf@gmail.com
 To: hello@tinycocoons.com


    Sent via form submission from Tiny Cocoons

    Your Name: Dan Weiskopf

    Email: daniel.weiskopf@gmail.com

    Phone: (646) 326-3274

    Tell us about your project. Location, size, amenities, preferences etc.: we have 20 acres of waterfront land near
    Seattle. We will be building a vacation house but would like the Freeman (or something like it) so that my family can
    enjoy the property soon. It will become a guest house. The larger size of the freeman is nice. Our preference is to get
    something soon, so we are interested in timeline and price.

     The property is currently being prepped with a site planner for guest house area and main house area. Roads, power,
     septic, well is going in this summer and we could customize the site for the Freeman.

     Do you have the fund, or approved mortgage already? What is your budget? : We have the funds already.

     How did you hear about us?: Google Search, Other

     Does this submission look like spam? Report it here.



  Chloe Liu <chloe@tinycocoons.com>                                                                           Mon, May 23, 2022 at 10:51 AM
  To: daniel.weiskopf@gmail.com
  Cc: Tiny <hello@tinycocoons.com>

     Hi Dan,

     Thanks for contacting us about our tiny homes. Congratulations on the 20 acres! That sounds like a wonderful
     project.

     We specialize in custom building THOWs. We don't offer "models". Our design team will work with you on a floor plan
     and renderings that fit your needs before the construction. A unit similar to the Freeman specs 28'L x 8'6"W x 13'6"H
     costs around 130k. That includes appliances such as fridge, mini-split AC, induction cooktop, washer/dryer combo. It
     is a good size that you can have one bedroom and two lofts, or two lofts. Our current lead time is about 11 months
     right now.

     We do have a 20'L x 8'6"W x 13'6"H unit in construction currently, the exterior is about to be finished . We are putting
     the roof and exterior door on. It was a sample unit. This particular unit will have much shorter lead time. We just
     released it for sale last Friday, multiple clients have shown interest. We can finish this particular unit in 3 months. It is
     estimated at $82k at the current specs. We can customize the floor plan, interior and exterior for you. Please
     see attached proposal. I'm attaching a few example layouts as well. If timing is your priority, this smaller unit might be

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    The team is working hard on the build. Attached are the latest pictures. We did some experiments and decided to
    apply the cedar siding horizontally on the lower section and vertically on the upper section. I am attaching an example
    picture. Because the roof design of this unit is very tall to maximize the loft space, we think making the cedar board
    horizontally especially for the back part will extend the length of the unit visually to avoid a short and tall "box" look. It
    is more durable for the cedar board to be horizontal as well. Making them vertical on the upper section adds a
    character.

    As for the timeline, I would estimate two months but there is an unknown hold up that one window for the bump-out
    and one window for the loft are currently out of stock online. We are working on searching for the correct sizes and
    moving forwards on the build in the meantime. As soon as we find the windows, we'll be able to provide a more
    accurate shipping time. Thank you very much for your understanding. Feel free to let me know if you have any
    questions.

    Regards,
    Chloe



      3 attachments




                                                      Dan 20' - 1.HEIC
                                                      1015K




                                                      Dan 20' - 2.JPEG
                                                      2369K




                                                        TC cedar.jpg
                                                        1210K




   Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                          Tue, Aug 30, 2022 at 4:47 PM
   To: Chloe Liu <chloe@tinycocoons.com>

     Awesome. Thank you for the update! Let me know as things progress.

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Tiny Cocoons Inc. Mall - Up date                                     document 92-2            filed 10/15/24          page 17 of9/19/23,
                                                                                                                                   236 11:36 AM


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     3 attachments




                                                    Dan 20' - 1.HEIC
                                                    1015K




                                                    Dan 20' - 2.JPEG
                                                    26K




                                                     TC cedar.jpg
                                                     30K




 Chloe Liu <chloe@tinycocoons.com>                                                                            Wed, Sep 21, 2022 at 4:29 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    Here is today's picture of the unit.


    Thanks,
    Chloe


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 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                  Wed, Sep 21 , 2022 at 4:48 PM
 To: Chloe Liu <chloe@tinycocoons.com>

    Awesome!! Thank you.

    Sent from my iPhone




                                    IMG_3624.HEIC
                                    581K




 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                     Sun , Oct 2, 2022 at 4:50 PM
 To: Chloe Liu <chloe@tinycocoons.com>

    Hi Chloe,

    I figu red you might have another timing update for me. Did you get the windows back in stock? We are making good
    progress on the site.

    Thank you.

    Sent from my iPhone




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                                                    Dan 20' - 1.HEIC
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 Chloe Liu <chloe@tinycocoons.com>                                                                             Mon, Oct 3, 2022 at 10:26 AM
  To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    Thank you for letting me know your site construction is going well. The cedar siding installation was completed this
    morning. (Attached pictures.) It took a lot more hours than we thought. But it is beautiful and well executed. The
    interior should happen faster.

    We are not able to find a square picture window that's available for purchase around 40" - 44". There are sliding
    windows slightly smaller on Home Depot, estimated 7 weeks delivery. Chris and I will go to some local window dealers
    to see if we can purchase one that's not custom made. A custom one takes a very long time right now. It is a challenge
    that a lot of regular sizes are out of stock right now. He is busy with the build , we'll update you with the window
    solution shortly.


    Regards,
    Chloe


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  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                    Mon , Oct 3, 2022 at 11 :54 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>

    Thank you. Looks great. Just let me know as you get updates so we can plan people here. And of course let me know
    if you have questions or need information. Thanks again!

     Sent from my iPhone




      2 attachments

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      ~ 1055K




                                  IMG_4173.HEIC
                                  1181K




  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                      Sat, Oct 15, 2022 at 8:30 AM
  To: Chloe Liu <chloe@tinycocoons.com>

     Hi Chloe,

     Checking in on the update on the window solution and build. Thanks.



  Chloe Liu <chloe@tinycocoons.com>                                                                          Mon, Oct 17, 2022 at 11:45 AM


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                                                                                                                                236 11:36 AM

 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    The team is working on trims and siding on the bump out section. We are expecting the exterior door to be delivered
    in two to three weeks. We are also getting quotes from different window suppliers who may have these windows
    delivered in a reasonable time.


    Thanks,
    Chloe

    [Quoted te,:t hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                    Sat, Oct 29, 2022 at 10:41 PM
 To: Chloe Liu <chloe@tinycocoons.com>

    Chloe,

    Did you receive quotes from the window suppliers and get a new timeline? At some point, we should talk on the phone
    about alternatives and other options if there continues to be supply chain issues or delays. We would like to get this
    wrapped up or get a solid timeline nailed down so we can plan.

    Thank you.

    [Quoted text hidden]



 Chloe Liu <chloe@tinycocoons.com>                                                                           Mon, Oct 31, 2022 at 2:33 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    The fastest delivery for the windows we've quoted is Jan. 2 so far. We are still researching to see other local suppliers
    for a faster lead time. In the meantime, the team is working on painting and the aesthetics of the exterior. We just put
    the exterior door in, see attached pictures. The interior work will start soon. I am asking Chris for an estimated time
    frame. The installation of the cedar did take a lot longer than we expected. The team is working hard each day. We
    want to wrap up this project and deliver it to you as well. Please be patient and trust us on building you a well-
    executed tiny house.


    Thanks,
    Chloe

    [Quoted text hidden]


     3 attachments




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 Chloe Liu <chloe@tinycocoons.com>                                                                              Mon, Oct 31, 2022 at 3:30 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    Would you like to set up a call with Chris and I to talk about the progress?

    This Thursday or Friday work the best for us. Let me know if there is a good time for you .


    Thanks,
    Chloe


    Chloe Liu, LEED AP
    Creative Team, a t iny living enthusiast
    Email: chloe@tinycocoons.com
    Phone: (312)884-9268


    Cl
    www.tinycocoons.com


 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                       Mon, Oct 31, 2022 at 8:50 PM
 To: Chloe Liu <chloe@tinycocoons.com>

    Chloe,


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    That looks great and glad things are moving along. Thanks for the update.

    We just have our own timing and scheduling that we are trying to figure out, and so if the delays become too great,
    then we should start to think about plan B. If the project looks likely to wrap up in January, then that seems fine for us.
    We are more interested in some level of certainty than in speed so that we can schedule folks here appropriately.
    Getting the various skilled work we need done also requires lead time.

    I don't need a call unless Chris would like to discuss other options.
    {Quoted text hidden]



 Chloe Liu <chloe@tinycocoons.com>                                                                             Tue, Nov 1, 2022 at 2:39 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    Thanks for your understanding. I will let Chris know that you need to schedule people. I will update you if we have a
    certain time for delivery or if we need to discuss any plans. At this point, we are just moving forward with the build.
    Feel free to let me know if you have any questions anytime.

    Thanks,
    Chloe
    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                      Thu, Dec 1, 2022 at 1:17 AM
 To: Chloe Liu <chloe@tinycocoons.com>

    Hi Chloe,

    I think I had some technical difficulties so apologies if you got this email twice. I was hoping to get a status update on
    progress and timing. Thanks.

    [Quoted text hidden]



 Chloe Liu <chloe@tinycocoons.com>                                                                             Thu, Dec 1, 2022 at 7:15 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    Hope you had a wonderful holiday. Chris said he is planning on the electricals. I don't have an ETA yet, but I will let
    you know as soon as I get any confirmation from him.

    Regards,
    Chloe
    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                    Thu, Dec 1, 2022 at 11 :07 PM
 To: Chloe Liu <chloe@tinycocoons.com>

    Chloe,

    Great. I'd love to get that update when you can get it and any progress photos Were the window issues worked out?

    I may come out to Indiana to visit my family in January and maybe I ~n swing by to say hello.

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                                                                                                                                236 11:35 AM


   -Thank you.

    Dan

    Sent from my iPhone
    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                       Fri, Dec 2, 2022 at 9:40 AM
 To: Chloe Liu <chloe@tinycocoons.com>

    Hello again. I think I will be able to come by on January 17, if you are around. Hopefully the house will be mostly done
    at that point, but it would be nice to meet you both and see the house before it ships out.

    Dan
    [Quoied text hidden]



 Chloe Liu <chloe@tinycocoons.com>                                                                             Fri, Dec 2, 2022 at 10:30 AM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    Sounds great. I'll let him know your time to visit. Chris said they may need to build a lot of things from scratch since
    things are taking longer lead time or not available, like having suppliers build windows for us etc.

    Regards,
    Chloe

    [Quoted text hidden]


                           /

 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                      Fri, Dec 2, 2022 at 10:36 AM
 To: Chloe Liu <chloe@tinycocoons.com>

    yikes. I know this is a problem throughout the industry. what a pain. I may actually be changing that visit date actually
    by a week. Will let you guys know shortly. Thanks!
    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                       Fri, Dec 2, 2022 at 6:32 PM •
 To: Chloe Liu <chloe@tinycocoons.com>

    Hi again, actually I'll swing by on Monday January 23 if that works for you all. Will touch base before then as well to
    confirm.

    In the meantime, happy holidays. Please send updates as progress is made and let me know if there is anything we
    need to discuss. Thanks.

    Sent from my iPhone
    [Quoted text hidden]



 Chloe Liu <chloe@tinycocoons.com>                                                                            Mon, Dec 5, 2022 at 1:22 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>



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                                                                                                                               236 11:35 AM

    Sounds great. I will let them know. Happy holidays!

    Regards,
    Chloe
    [Quoted text hidden]



 Dan Weiskopf <danieLweiskopf@gmail.com>                                                                     Sat, Dec 31, 2022 at 5:56 PM
 To: Chloe Liu <chloe@tinycocoons.com>

    Hi Chloe,

    Happy New Year. Just checking on progress if you could teil me where things stand on house build.
                                                                   :    '                    •                          •



    I'm still planning to be out there on January 23. Let me know a good time to stop by. Thanks:


    !Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                    Tue, Jan 3, 2023 at 12:08 AM
 To: Chloe Liu <chloe@tinycocoons.com>

    Chloe,

    Also just looking back through my emails. We were thinking that the house was going to be done by August of 2022
    and that a 12-week time frame was not an issue. I understand that we went with cedar and there have been supply
    chain issues on the windows, but I am getting concerned. I really just need information about all the specific issues
    holding the project up and what the alternatives are. Then when I visit we can make final decisions so that the project
    can get wrapped up as soon as possible. Thank you.


    [Quoted text hidden]



 Chloe Liu <chloe@tinycocoons.com>                                                                            Tue, Jan 3, 2023 at 5:13 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>

    Hi Dan,

    Happy New Year. Jan. 23rd works, anytime 10am - 3pm should be fine. There were unexpected delays that happened
    on multiple things on all of our projects and ended up causing a chain effect. I believe nobody is purposely delaying
    anything including the manufacturers on various materials. The cedar sidings took more than seven weeks to install,
    we originally planned one week when giving away the labor for free to you. The particular sizes for the Jeld-Wen V-
    4500 serious window are not available to be purchased. Chris mentioned the solution was to either keep spenc,ting
    time trying to find the same ones or build the windows. Please be patient and trust us on the build, we all want to
    move forward ~s m_uch. as you do with no sacrifice on the materials or build qualities.

    Thanks,
    Chloe

    [Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@grnail.com>                                                                    Tue, Jan 3, 2023 at 5:39 PM
 To: Chloe Liu <chloe@tinycocoons.com>


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                Gmail                                                                                                Chloe Liu <chloe@tinycocoons.com>



 Meeting--thank you and follow up

 Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                                            Sat, Apr 15, 2023 at 3:57 PM
 To: Chloe Liu <chloe@tinycocoons.com>, Chris Baer <chris@tinycocoons.com>
 Cc: Beth <elizabeth.weiskopf@gmail.com>

    Chris and Chloe,

    It was great meeting with Chris last Tuesday and I am glad everything seems on track.

    I believe most of the decisions were made on the spot:

    --the layout was all good and really defer to you.
    -Chris's thoughts on storage all seemed good. We defer to you.
    -We don't need a plug for the TV so that can be taken out of the wall.
    -Chris's plans for lighting were good.
    -In addition , we would like reading lights in the wall in master suite that we can control from bed.
    -3/4 walls (with the leaded windows that can be raised) on both lofts for extra privacy--awesome idea.
    -No shower door is needed. We will do "wet room" and shower curtain.
    --Stainless steel for the appliances.
    --No ice maker in fridge is good.
    -We will want to plan to have Wifi from the internet cable. Chris thought that the wifi box could go in the bottom of the
    window seat and he could wire so cords could be tucked away nicely.

    The open issue was interior color for floor walls ceiling and cabinets/accents. Chris said we might get some samples
    photos from you.

    We like the cedar interior but would like to have it stained light so we don't feel like we are inside a sauna and so that
    the space feels open. VVhat do you think of an antique white stain like the attached for the walls and ceiling with darker
    wood trim, beams, and accents? Not sure how the cabinets would frt into this. floor color in this photo is also nice but
    would defer to you.




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    Please confirm receipt since we were having email issues a few weeks ago.

    And let me know if you need any additional decisions at this point. Thank you again.




  Chloe Liu <chloe@tinycocoons.com>                                                                         Mon, Apr 17, 2023 at 9:21 AM
  To: Chris Baer <chris.baer@truetinyhome.com>


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Tiny Cocoons Inc. Mail - Meeting--thank you and follow up             document 92-2              filed 10/15/24          page 29 of9/19/23,
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  Chloe Liu <chloe@tinycocoons.com>                                                                               Mon , Apr 17, 2023 at 9:33 AM
  To: Dan Weiskopf <daniel.weiskopf@gmail.com>
  Cc: Chris Baer <chris@tinycocoons.com>, Beth <elizabeth.weiskopf@gmail.com>

    Hi Dan,

    Thanks for visiting and thanks for the notes. I will make sure we go through these with Chris. I really like the sample
    photo you sent. Let me ask him and get back to you if we can make the cabinet and walls the same antique white
    color. Countertop and beam are the same darker color. I like the floor color too.

    Also, I'd like to confirm with you if a graphite steel color washer/dryer is okay. Like this . There are very few options for
    stainless steel washer/dryer combo. The fridge will still be stainless steel, it'll be lighter than the graphite color. There
    are also few options for a fridge that can be graphite and frt our width/depth requirement. We can also choose
    another color combination if you prefer.


     Thanks,
     Chloe



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                         Mon, Apr 17, 2023 at 9:47 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Chris Baer <chris@tinycocoons.com>, Beth <elizabeth.weiskopf@gmail.com>

     Thank you.

     I'm worried that the graphite washer dryer will look very out of place with all the lighter colors in the house.

     VVhat about a white washer dryer? Is that available and what Would you think of that? Could potentially do matching
     white fridge?

     But you have a better eye than me so please override me if you think that's a bad idea .

     Sent from my iPhone


              On Apr 17, 2023, at 6:33 AM , Chloe Liu <chloe@tinycocoons.com> wrote:



              Hi Dan,

              Thanks for visiting and thanks for the notes. I will make sure we go through these with Chris. I really like
              the sample photo you sent. Let me ask him and get back to you if we can make the cabinet and walls
              the same antique white color. Countertop and beam are the same darker color. I like the floor color too.

              Also, I'd like to confirm with you if a graphite steel color washer/dryer is okay. Like this. There are very
              few options for stainless steel washer/dryer combo. The fridge will still be stainless steel, it'll be lighter
              than the graphite color. There are also few options for a fridge that can be graphite and fit our
              width/depth requirement. We can also choose another color combination if you prefer.


              Thanks,

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          USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - Meeting --thank you and follow up            document 92-2             filed 10/15/24          page 30 of9/19/
                                                                                                                                     23623, 11:37 AM



             Chloe

             On Sat, Apr 15, 2023 at 3:57 PM Dan Weiskopf <daniel.weiskopf@gmail.com> wrote:
              Chris and Chloe,

                It was great meeting with Chris last Tuesday and I am glad everything seems on track.

                I believe most of the decisions were made on the spot:

                --the layout was all good and really defer to you .
                --Chris's thoughts on storage all seemed good . We defer to you.
                --We don't need a plug for the TV so that can be taken out of the wall.
                --Chris's plans for lighting were good.
                --In addition, we would like reading lights in the wall in master suite that we can control from bed .
                --3/4 wans (with the leaded windows that can be raised) on both lofts for extra privacy--awesome
                idea.
                --No shower door is needed. We will do ''wet room" and shower curtain.
                --Stainless steel for the appliances.
                --No ice maker in fridge is good .
                --We will want to plan to have Wifi from the internet cable. Chris thought that the wifi box could go in
                the bottom of the window seat and he could wire so cords could be tucked away nicely.

                 The open issue was interior color for floor walls ceiling and cabinets/accents. Chris said we might get
                 some samples photos from you.
               I We like the cedar interior but would like to have it stained light so we don't feel like we are inside a
                 sauna and so that the space feels open. What do you think of an antique white stain like the attached
               I for the walls and ceiling with darker wood trim, beams, and accents? Not sure how the cabinets would
                 frt into this. floor color in this photo is also nice but would defer to you.




  Chloe Liu <chloe@tinycocoons.com>                                                                             Mon , Apr 17, 2023 at 10:42 AM
  To: Dan Weiskopf <daniel.weiskopf@gmail.com>
  Cc: Chris Baer <chris@tinycocoons.com>, Beth <elizabeth.weiskopf@gmail.com>

     Hi Dan,

     Thank you for your feedback. It looks like there are many good options available with decent reviews for white fridge
     and white washer/dryer combo. I'll be happy to pick out white ones for our needs. Please let me know if you have any
     objections or preferences.

     -Chloe




   Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                     Mon, Apr 17, 2023 at 12:23 PM
   To: Chloe Liu <chloe@tinycocoons.com>
   Cc: Chris Baer <chris@tinycocoons.com>, Beth <elizabeth.weiskopf@gmail.com>

      Great. As long as you think that will look good? I trust your eye over mine.

      Sent from my iPhone


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Tiny Cocoons Inc. Mail - Meeting--thank you and follow up          document 92-2             filed 10/15/24         page 31 of9/19/23,
                                                                                                                                236 11:37 AM


 Chloe Liu <chloe@tinycocoons.com>                                                                          Tue, Apr 18, 2023 at 12:08 PM
 To: Dan Weiskopf <daniel.weiskopf@gmail.com>
 Cc: Beth <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

    Sounds good. VVhite will look good as it matches the color palette for the rest of the house. Thanks for your trust.

    -Chloe


    Chloe Liu, LEED AP
    Creative Team, a tiny living enthusiast
    Email: chloe@tinycocoons.com
    Phone: (312)884-9268

    Cl)
    www.tinycocoons.com




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USDC IN/ND case 4:23-cv-00071-JEM    document 92-2   filed 10/15/24   page 32 of 236




                                    Appendix-D
           USDC IN/ND case 4:23-cv-00071-JEM
Tiny Cocoons Inc. Mail - It's June!                                document 92-2            filed 10/15/24                     236 11:38 AM
                                                                                                                   page 33 of9/19/23,


    I'd love progress photos so I can get a ~etter sense of where things are at. Thanks.

  • Two questions.

    1. Can you remind me again how shipping works? Do you have folks that you work with or do we need to arrange
    shipping?

    2. Should I come out for a final walk through in a couple weeks before it ships? I wouldn't want to slow anything down,
    but might pop over depending on timing. Thank you.

    Dan



     [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                             Thu, Jun 8, 2023 at 12:01 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Chris Baer <chris@tinycocoons.com>, Beth Weiskopf <elizabeth.weiskopf@gmail.com>

    Please some additional details and photos? Thank you.

     Sent from my iPhone
    [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                                                      Fri, J~n 9, 2023 at 6:42 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Chris Baer <chris@tinycocoons.com>, Beth Weiskopf <elizabeth.weiskopf@gmail.com>

    Chloe,

    I am having some responsiveness and communication issues again here. I've had to send four emails over nine days
    to get some pretty basic questions answered.

     1. Please give me more specific details on progress and photos. I'm glad the fridge is arriving but that doesn't tell me
     much.

    2. Please let me know about how shipping works, and whether I need to arrange that or you do.

    Given the timeline we've discussed, I'd expect that you'd have a fairly good estimate on completion at this point,
    unless you need to deliver more bad news to me. You guys are like 2 weeks out from shipping? Thank you.

     Dan
    [Quoted text hidden]



  Chloe Liu <chloe@tinycocoons.com>                                                                             Fri, Jun 9, 2023 at 9:39 AM
  To: Dan Weiskopf <daniel.weiskopf@gmail.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>


     Hi Dan,


https:Jlmail.google.com/mail/u/1/?ik=6bac2466b7&view=pt&search= ...impl=msg-a:r8813210258084250985&simpl=msg-f:1769788689899126576   Page 2 of 7
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           USDC IN/ND case 4:23-cv-00071-JEM
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     Earlier morning today we got the fridge delivered. We are still waiting on the delivery of
     the mini split unit. The team is working on the exterior paint this week. They've sanded
     the entire unit. Chris will share more picture once they stained the unit, it will make a
     difference. We are working our best on the project, and being focused.

     We'll get quotes and discuss with you about shipping near completion. It's too early to
     finalize the details with the shipping company. Feel free to let me know if you have any
     questions.

     Thanks,
     Chloe

     Chloe Liu, LEED AP
     Creat ive Team, a tiny living enthusiast
     Email: chloe@tinycocoons.com
     Phone: (31 2)884-9268


     Cl)
     www.tinycocoons.com


   Dan Weiskopf <daniel.weiskopf@gmail.com>                                           Wed, Jun 14, 2023 at 10:10 AM
   To: Chloe Liu <chloe@tinycocoons.com>
   Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

      Chloe,

      I still need a basic understanding on timing . I've been very reasonable. Thanks.

      Sent from my iPhone



   Chloe Liu <chloe@tinycocoons.com>                                                    Thu, Jun 15, 2023 at 2:41 PM
   To: Dan Weiskopf <daniel.weiskopf@gmail.com>
   Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>


      Hi Dan,

      Thank you for following up and for being patient. Our team has been working diligently on the construction site,
      ensuring progress at full speed. Despite some unforeseen challenges, we have maintained our momentum and are
      committed to delivering a high-quality final product. Considering the current circumstances and weather conditions,
      there are certain things we haven't got a chance to finish yet such as the exterior siding which needs a long period of
      sunny days. Although the timing is the highest priority for us and the team is working on full speed everyday, we can't
      deliver you with a unit of any missing pieces. We now anticipate an additional one or two months to finalize all the
      construction work effectively.

      We understand the importance of timely delivery and the impact any delay may have on your plans. Rest assured that
      we are doing everything within our power to expedite the construction process without compromising on safety or

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                                                                                                                               236 11:38 AM

    quality. We value our partnership and appreciate your understanding and flexibility in accommodating this slight
    adjustment to the delivery timeline.                                              •

    Thank you for your patience and cooperation. We look forward to completing this project successfully and exceeding
    your expectations.                 ,



    Best regards,

    Chloe

    [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                             Thu, Jun 15, 2023 at 3:05 PM
  To: Chloe Liu <chloe@tinycocoons.com>     •
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

     Chloe,

     We are done. I have no reason to trust these deadlines any more. Let's find a time to discuss how to proceed, either
     by taking possession of the unfinished version or you finishing it and selling it to someone else.

     Sent from my iPhone
     [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                             Fri, Jun 16, 2023 at 9:36 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

     Chloe, Chris,

     Further to the below, we need to figure out a good time to discuss how to proceed. I am in a trial for several weeks
     starting on Tuesday so weekend would be better. Monday is fine.

    We are not going to agree to a couple month delay at this point. We had agreed to the build being complete last
    summer within 10 weeks--based on that representation, we paid in full. Then after discovering what was going on and
    two visits to Indiana, we agreed to this May as the absolute drop dead date, even with unanticipated delays. How
    weather and parts (when I agreed to pay extra to get expedited parts) could create another several months delay does
    not make sense and it is not credible. The inability to keep a schedule is going to ruin our summer plans and will cost
    us significant sums.

     Here are the three options.

     1. If you want to _proceed with this project, start sending us $1000 per week until the house is ready for inspection and
     shipping. Your company has had an interest free loan for 15 months-that's been probably a $18,000 benefit given
     interest rates at our expense. There is no incentive to finish the project in a timely fashion and that amount would
     both compensate us for the harm, pay back a fraction of the interest on the interest free loan, and incentivize finishing
     the project.

     2. Ship the home unfinished by July 1. We will get it completed here and we will then talk about the expense needed
     to finish the project and how to deal with the difference between what we paid for and what we received.

     3. Send us back our money and sell the project to someone else.


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                                                                                                                                 236 11:38 AM


    Obviously I'd like to find an efficient and non-confrontational path through this if possible. I can't spend a lot of time on
    this now, so if we can't agree to what I suggested above, I am going to have to hire Indiana counsel and let them work
    this out with you. Obviously, this is super di~appointing.

     Dan


     [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                            Sun, Jun 18, 202 at 10:03 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

     Chloe and Chris,

    You may not be taking this seriously enough if I cannot get a response for three days. This is an issue that erits
    weekend work. On Wednesday (June 21 ), if you haven"t selected option 1, 2, or 3 below, we are hiring coupsel in
    Indiana, and future communications will be through them. This is not the way I like to get things done-it's ore
    expensive and less pleasant-but I continue to be unable to get honest and timely answers to emails.

     We are now making other plans for a house on our property, which we will begin to execute on within the n xt week or
     so. I lost both last summer and_this summer due to the representations that you made to me, which turned out to be
     inaccurate. We need to move on.

    If you are out of cash and need to sign a promissory note rather than paying us back our cash right now, w can
    consider that as a short-term solution while you figure out what to do with the house. But we will need inte st,
    monthly payments, and adequate security, including personal guarantees. I did not send you cash last Sp ng in order
    to become a long-term, unsecured, interest-free lender.

     Dan

     [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                             Wed, Jun 21, 2 23 at 2:02 PM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Ba'er <chris@tinycocoons.com>

     Chloe, Chris,

     I'm not sure what your plan is here by not responding--this is very bizarre behavior. We could have worked out a
     reasonable solution.

     Do not take any further actions on the tiny home on our behalf. We are not going to take possession, we a e finding
     alternative plans for our property, and we are hiring counsel.                        •


     [Quoted text hidden]



  Chloe Liu <chloe@tinycocoons.com>                                                   Wed, Jun 21, 2023 at 6:04 PM
  To: Dan Weiskopf <daniel.weiskopf@gmail.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

     Hi Dan,

https://mail.google.com/mail/u/1/?ik=6bac2466b7&view:pt&search= ... impl=msg-a:r8813210258084250985&simpl=msg-f:1769788689899126576   Page 5 of 7
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    Apologies for the delayed response, I just saw your email. We just came back to civilization from the project site. And I
    told Chris about your concerns and decisions. He is still at the site but he is going to give me a few availability for a
    phone call with you later tonight. If you have any preferred time slots this week, feel free to let me know. I'll keep you
    posted and we will discuss details.                                                         •

    Thanks,
    Chloe

    [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                            Wed, Jun 21, 2023 at 6:56 PM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

     7am PST 10am EST is fine.

     Sent from my iPhone
     [Quoted text hidden]



  Dan Weiskopf <daniel.weiskopf@gmail.com>                                            Thu, Jun 22, 2023 at 11 :34 AM
  To: Chloe Liu <chloe@tinycocoons.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

     Chloe,

    This appears to be yet another delay tactic, and I'm not sure what a phone call will accomplish. We've already started
    the process of retaining counsel in Indiana. Yqu can put a response in writing, and we will consider it.

     We sent in our money over a year ago because you told us we'd have a tiny house last summer. You and Chris
     demanded all cash up front. We asked to put the money into escrow or hold some back until the project was complete.
     And you and Chris said that was not a possibility because you needed the cash immediately to complete the project
     on the expedited time frame. You said there was a line of other potential buyers ready to send in cash to get this
     house on the expedited time frame so we needed to act quickly.

     None of this was true. You and Chris took our money and spent the money on other projects. I've gotten a string of
     untrue statements since then. There is no polite way to say fraud. But this is what you've done, and the law strongly
     protects consumers in these situations (including penalties and legal fees).

     If you want to get this resolved short of a lawsuit, two options remain: (i) money being sent back to us ASAP, or (ii) a
     signed promissory note that will give you financial breathing room while you finish the project and sell it to someone
     else so we can get our money back after the sale.

     Those are the options. You can provide a response in writing.

     Dan

     [Quoted text hidden]



  Chloe Liu <chloe@tinycocoons.com>                                                  Mon, Jun 26, 2023 at 11:26 AM
  To: Dan Weiskopf <daniel.we1skopf@gmail.com>
  Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

     Hi Dan,

https://mail.google.com/mail/u/1/?ik=6bac2466b7&view=pt&search=... impl=msg-a:r8813210258084250985&simpl=msg-f:1769788689899126576   Page 6 of 7
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                                                                                                                               236 11:38 AM


    We can return your money once we sell your unit.


    Thanks,
    Chloe
    {Quoted text hidden]



 Dan Weiskopf <daniel.weiskopf@gmail.com>                                             Mon, Jun 26, 2023 at 1:53 PM
 To: Chloe Liu <chloe@tinycocoons.com>
 Cc: Beth Weiskopf <elizabeth.weiskopf@gmail.com>, Chris Baer <chris@tinycocoons.com>

    Chloe,

    That is not acceptable to us. This money was taken by fraud. I am not willing to be your interest free, unsecured credit
    facility any more.

    To resolve this, you can wire back all my money in the next two weeks and we will waive interest. Otherwise, I will
    need a secured promissory note with interest.

    We are already in the process of retaining counsel on this and you will hear from them in two weeks if you don't return
    our funds by then or agree to acceptable terms of a promissory note.

    Dan

    Sent from my iPhone
    [Quoted text hidden]




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Tiny Cocoons Inc. Mail - Demand for Payment - $97,905 (Dan & Beth Weiskopf)                         filed 10/15/24                       236 11:39 AM
                                                                                                                             page 39 of9/19/23,



                 Gmail                                                                                   Chloe Liu <chloe@tinycocoons.com>



  Demand for Payment - $97,905 (Dan & Beth Weiskopf)
 L.

 Amy.Flowers@icemiller.com <Amy.Flowers@icemiller.com>                                  Thu, Aug 3, 2023 at 11 :55 AM
 To: "chloe@tinycocoons.com" <chloe@tinycocoons.com>
 Cc: "Carolyn .Riggs@icemiller.com" <Carolyn.Riggs@icemiller.com>, "Amy.Flowers@icemiller.com"
 <Amy.Flowers@icemiller.com>


      Hi Chloe:



      Our Firm, Ice Miller, represents Dan & Beth VVeiskopf in relation to their agreement with Tiny Cocoons for the
      construction of a tiny house. It should come as no surprise that the Weiskopfs have retained counsel in an effort to
      return the money Tiny Cocoons owes them, in the amount of $97,905. Our client's informal communications with you
      have availed undesirable results. That so, based on my review of your communications with Daniel, it is readily
      apparent that Tiny Cocoons is aware that they took from the Weiskopfs and provided nothing in return. Further, to
      those same communications-spanning a year's time-you've remained amicable throughout and we'd anticipate and
      appreciate that same tenor of discourse, now. Our involvement is first to resolve this matter favorably and fairly for our
      clients, expecting Tiny Cocoons to return the money in full $97,905; and second to file litigation if Tiny Cocoons fails to
      do so .



      Please respond to this email by noon tomorrow (or call me at 740-707-1966) with information on your intentions to pay
      back the $97,905 in full.



      We look forward to and expect your response.



      Best,

      Amy




      lceMiller
      L(ll.U COtl ~5fL


      Amy E. Flowers I Associate

      Arena District 1250 West Street I Columbus, Ohio 43215

      P: 614 462 5022 1C: 740 707 1966

      Amy Elowers@iceroilleLcom




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Tiny Cocoons Inc. Mail - Demand for Payment - $97,905 (Dan & Beth Weiskopf)                         filed 10/15/24           page 40 of 236

    NOTE: This law firm is or may be considered a debt collector pursuant to the provisions of the Federal Debt
    Collections Practices Act 15 USC §1692, et seq. As such, this communication is from a debt collector. Any information
    provided in response to this communication may be used to collect a debt. The amount of the debt sought to be
    collected is as set forth in this communication. You have thirty (30) days from the date of this communication to
    dispute the validity of the debt. If you dispute the validity of the debt in writing within thirty (30) days from the date of
    this communication, verification of the debt will be' sent to you. The debt has not been assigned to a party other than
    the original creditor.
    .............................................................................
    ......................................
                                                                                  , .....................................................

    CONFIDENTIALITY NOTICE: This E-mail and any attachments are confidential and may be protected by legal
    privilege. If you are not the intended recipient, be aware that any disclosure, copying, distribution, or use of this E-mail
    or any attachment is prohibited. If you have received this E-mail in error, please notify us immediately by returning it to
    the sender and delete this copy from your system.
    Thank you.
    ................................................................................................................................
    ICE MILLER LLP
    .....................................

      3 attachments
      ~ lnvoice-3E391 A25-0001.pdf
           41K
      ~ Receipt-2596-9050.pdf
           39K
      ~ lnvoice-3E391A25-0002.pdf
           41K


  Amy.Flowers@icemiller.com <Amy.Flowers@icemiller.com>                                 Mon, Aug 7, 2023 at 7:33 AM
  To: "chloe@tinycocoons.com" <chloe@tinycocoons.com>
  Cc: "Carolyn.Riggs@icemiller.com" <Carolyn.Riggs@icemiller.com>, "Amy.Flowers@icemiller.com"
  <Amy.Flowers@icemiller.com>

     (If you have counsel, please forward to your attorney.]

     Chloe:

     Good morning. After our phone call last week, you indicated you would email me a copy of the "quote" which included
     your cancellation terms. You've failed to do so. According to our client, those terms do not exist. Candidly, such terms,
     if available, are no longer relevant considering the breach and fraud on the part of Tiny Cocoons and yourself. As
     indicatetj, Dan and Beth intend to push forward for the return of their funds.

     Best,
     Amy Flowers

     Amy E. Flowers
     Associate
     Ice Miller LLP
     Amy.Flowers@icemiller.com
     O: 614.462.5022
     M: 740.707.1966

     From: Flowers, Amy
     Sent: Thursday, August 3, 2023 11 :55:20 AM

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    To: chloe@tinycocoons.com <chloe@tinycocoons.com>
    Cc: Riggs, Carolyn <Carolyn.Riggs@icemiller.com>; Flowers, Amy <Amy.Flowers@icemiller.com>
    Subject: Demand for Payment- $97,905 (Dan & Beth VVeiskopf)


    Hi Chloe:



    Our Firm, Ice Miller, represents Dan & Beth Weiskopf in relation to their agreement with liny Cocoons for the
    construction of a tiny house. It should come as no surprise that the Weiskopfs have retained counsel in an effort to
    return the money liny Cocoons owes them, in the amount of $97 ,905. Our client's informal communications with you
    have availed undesirable results. That so, based on my review of your communications with Daniel, it is readily
    apparent that liny Cocoons is aware that they took from the Weiskopfs and provided nothing in return. Further, to
    those same communications-spanning a year's time-you've remained amicable throughout and we'd anticipate and
    appreciate that same tenor of discourse, now. Our involvement is first to resolve this matter favorably and fairly for our
    clients, expecting liny Cocoons to return the money in full $97,905; and second to file litigation if liny Cocoons fails to
    do so.



     Please respond to this email by noon tomorrow (or call me at 740-707-1966) with information on your intentions to pay
     back the $97,905 in full.



     We look forward to and expect your response.



     Best,

     Amy



     (cid:image001 .png@01 D9C5FB.9A4D4A40]<http://www.icemiller.com/>

     Amy E. Flow ers I Associate

     Arena District I 250 West Street I Columbus, Ohio 43215

     P: 614 462 50221 C: 740 707 1966

     Amy.Flowers@icemiller.com<mailto:Amy.Flowers@icemiller.com>



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USDC IN/ND case 4:23-cv-00071-JEM    document 92-2   filed 10/15/24   page 42 of 236




                                    Appendix-E
       USDC IN/ND case 4:23-cv-00071-JEM                                 document 92-2               filed 10/15/24           page 43 of 236
       CHASEO                                                                                      June 01, 2022 through June 30, 2022
       JPMorgan Chase Bank, N.A.
       PO Box 182051                                                                           Account Number:      Al     hi              b
       Columbus, OH 43218-2051

                                                                                            CUSTOfv1ER SERVICE INFORMATION
                                                                                           Website:                               Chase.com
                                                                                           Service Center:                   1-S00-242-7338
     00025795 DRE 053 212 18222 NNNNNNNNNNN 1 000000000 64 0000                            Deaf and Hard of Hearing:         1-800-242-7383
     TINY COCOONS INC.                                                                     Para Espanol:                     1-888-622-4273
     2237 DELAWARE DR                                                                      International Calls:              1-713-262-1679
     WEST LAFAYETTE IN 47906-1917




Good news - You now have more time to avoid overdraft fees
Wrth Chase Overdraft AssistsM, 1, we won't charge an overdraft fee ($34 lnsufficient Funds Fee) if you're overdrawn by $50
or less at the end of the business day. And now, for Chase Business Complete Checking8M, Chase Total Business
Checking®, Chase Business Classic Checking8M, and Chase Business Select CheckingsM accounts, we won't charge an
overdraft fee if you're overdrawn by more than $50 and you bring your account balance to overdrawn by $50 or less at the
end of the next business day (you have until 11 pm ET/ 8pm PT to make a deposit or transfer2). 3

Receive alerts when your account balance Is overdrawn wHh Account Alerts4
•    You can sign up to receive alerts by email, text message and push notification when your account is overdrawn. This
     alert will also notify you when your account is overdrawn by more than $50 and you need to make a deposit or transfer
     to avoid overdraft fees.
•    If you'd like to enroll, you can sign in to chase.com or the Chase Mobile® app5, select "Alerts" from the-navigation menu
     and follow the instructions to choose "My account is overdrawn" alert and delivery methods.

As a reminder, we pay overdrafts at our discretion so we don't guarantee that we will always pay any type of transaction.
You're responsible to make a deposit or transfer to avoid overdraft fees, even if you do not receive a notification alerting you
that your account is overdrawn more than $50.

For eligibility and additional information on our overdraft services and associated fees for Chase Business Complete
Checking and other products, please refer to the Additional Banking Services and Fees for Business Accounts
(chase.com/business/disclosures), or call us at the number on your statement. We accept operator relay calls.
1Chase Overdraft Assist is available with eligible accounts and products, and does not require enrollment.
2
  lf you make a deposit or transfer this assumes we don't place a hold on the funds or that a check deposit is not returned.
3
  For Chase Performance Business Checking®, Chase Platinum Business Checking sM, Chase Analysis Business Checking sM, certain complex
products (such as Automatic_ Dollar Transfer (ADT)), or for other accounts with discretionary overdraft review, you will only have until 11 pm ET
(8pm PT) on the same business day, and not the next business day, to make a deposit or transfer to bring your account balance to overdrawn by
$50or less.
4
  Account Alerts: There is no charge from Chase, but message and data rates may apply. Delivery of alerts may be delayed for various reasons,
including service outages affecting your phone, wireless or internet provider; technology failures; and system capacity limitations. Any time you
review your balance, ·keep in mind it may not reflect all transactions including recent debit card transactions or checks you have written. A
qualifying Chase transfer account is required to transfer funds via text.
5The' Chase Mobile app is available for select mobile devices. Message and data rates may apply.

Important changes: Chase Business Complete CheckingSM
Starting with the October monthly statement period, we're updating the ways you can avoid the Monthly Service Fee, as
follows:

If you meet any of the following qualifying activities for each Chase Business Complete Checking account in a monthly
statement period, we will waive the $15 Monthly Service Fee:
• Maintain a linked Chase Private Client Checking8M account OR

                                                                                                                             Page 1 of 6
        USDC IN/ND case 4:23-cv-00071-JEM                               document 92-2               filed 10/15/24            page 44 of 236
        CHASEO                                                                                    June 01, 2022 through June 30, 2022
                                                                                              Account Number:       ?Hg-


•     Meet Chase Military Banking requirements OR
•     Fulfill at least one of the following qualifying activities:                                    _        . __ .-~
      1. Minimum Daily Ending Balance: Maintain a minimum daily ending balance of at least $2,000 in the Chase Business
            Complete Checking account each business day during the monthly statement period1
      2. Chase Payment SolutionssM Activity: Have at least $2,000 of aggregate eligible deposits2 into the Chase Business
            Complete Checking account at least one day before the end of the monthly statement periocf using one or more of
           the following:
            • • Chase Quicl(AcceptsM including Chase Smart TerminafM
            • lnstaMed Patient Payments and lnstaMed Patient Portal
            • Other eligible Chase Payment Solutions products4      .
      3. Chase Ink® Business card Activity: Spend at least $2,000 on eligible purchases5 in the most recent monthly Ink
           card billing cycle6
1The monthly statement period for Chase Business Complete Checking ends on the last business day of each month. For the purposes of the
Minimum Daily Ending Balance requirement, the last day of the monthly statement period is excluded.
2
  Eligible deposits are net of chargebacks, refunds, or other adjustments.
3The cutoff time for eligible deposits from QuickAccept, lnstaMed, and other eligible Chase Payment Solutions, is 11 :59 p.m. Eastern Time one
day prior to the last day of your Chase Business Complete Checking monthly statement period. For example, if your Chase Business Complete
Checking monthly statement period ends on November 30, the cutoff time would be 11 :59 p.m. Eastern Time on November 29.
4
  An eligible product has a transaction history that is viewable on Chase Business Online, Chase Connect ®, or J.P. Morgan Access®.
5
  Eligible purchases must be made using Chase Ink Business Card(s) associated with the same business as your Chase Business Complete
Checking account, as reflected in Chase records, and must earn Chase Ultimate Rewards ® points. Certain purchases and transactions are
excluded from earning Chase Ultimate Rewards points, as described in your Rewards Program Agreement available on
chase.com/ultimaterewards.
6The most recent monthly Ink billing cycle wiil be used if it's differ~nt from your Chase Business Complete Checking monthly statement period.

On August 21, 2022, fees for cashier's checks and counter checks are changing
We're making the following fee changes and, depending on the type of account you have with us, you may be affected:

           •   cashier's check fee: This fee will increase from $8.00 to $10.00 per check.
           •   Counter check fee: This fee will increase from $2.00 to $3.00 per page.

Please note: We'll continue to waive these fees for Chase Performance Business Checking® and Chase Platinum Business
Checking8M accounts.

For more information about banking fees, please read the Additional Banking Services and Fees for Business Accounts
Deposit Account Agreement, which you can find at chase.cornJbuslness-deposH-dlsclosures, or visit a branch.

If you have any questions, please call the number on this statement. We accept operator relay calls.

I   CHECKING SUMMARY                         I   Chase Business Complete Checking
                                                     INSTANCES                           AMOUNT
    Beginning Balance                                                                  $6,741.06
    Deposits and Additions                                    3                       ,a9,na.n
    ATM & Debit Card Withdrawals                              5                          -163.11
    Electronic Withdrawals                                   17                       -92,498.31
    Ending Balance                                           25                        $3,858.41


The monthly service fee for this account was waived as an added feature of Chase Private Client Checking account.




                                                                                                                             Page 2 of 6
        USDC IN/ND case 4:23-cv-00071-JEM                 document 92-2        filed 10/15/24         page 45 of 236
        CHASEO                                                               June 01, 2022 through June 30, 2022
                                                                          Account Number:   .,_..



IDEPOSITS AND ADDITIONS I
DATE       DESCRIPTION                                                                                             AMOUNT
06/01      Orig CO Name:Stripe              Orig ID:1800948598 Dase Date:    CO Entry                       $83,873.00
           Descr:Transfer Sec:CCD Trace#:091000011609294 Eed:220601 Ind
           ID:St-L2A7H3H3M0N2              Ind Name:Tiny Cocoons Inc Tm: 1521609294Tc
06/08      Online Transfer From Chk ... 1965 Transaction#: 14530123260                                           777.77
06/09      Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:    CO Entry                          5,128.00
           Descr:Transfer Sec:CCD Trace#:091000017431168 Eed:220609 Ind
           ID:St-J9M5H9G404O1               Ind Name:Tiny Cocoons Inc Tm: 1607431168Tc
Total Deposits and Additions                                                                                $89,778.77


!ATM & DEBIT CARD WITHDRAWALS!
DATE     DESCRIPTION                                                                                               AMOUNT
06/03 Recurring Carel Purchase 06/03 Squarespace Inc. Httpssguaresp NY Card 5194                                    $35.00
06/06 Recurring Card Purchase 06/02 Metronet Cnp an-4073224 KS Card 5194                                             90.55
06/06 Carel Purchase       . 06/03 Google*Domains Support.Googl CA Carel 5194                                        12.00
06/17 Carel Purchase         06/17 Etsy.Com - Rozen90 718-8557955 NY Carel 5194                                       8.93
06/21   Card Purchase        06/18 Google*Domains Support.Googl CA Carel 5194                                        16.63
Total ATM & Debit caret Withdrawals                                                                                $163.11


IATM & DEBIT CARD SUMMARY I
Yinan Liu Card 5194
                         Total ATM Withdrawals & Debits                                                              $0.00
                         Total Card Purchases                                                                      $163.11
                         Total Carel Deposits & Credits                                                              $0.00
ATM & Debit Card Totals
                       Total ATM Withdrawals & Debits                                                                $0.00
                       Total Card Purchases                                                                        $163.11
                       Total Card Deposits & Credits                                                                 $0.00

!ELECTRONIC WITHDRAWALS!
DATE     DESCRIPTION                                                                                               AMOUNT
06/01   06/01 Online ACH Payment 5337760515 To Baerenterprisesinc (_##4055)                                 $64,760.00
06/02   06/02 Online ACH Payment 5338098453 To Chloeestate ( #####1200)                                       22,345.32
06/06 Orig CO Name:Shen Zhen Qian H        Orig ID:770510487C Deso Date:     CO Entry Desor:lat                  103.29
        Paypalsec:Web Trace#:021000029510280 Eed:220606 Ind ID:1020490686944
        Ind Name:Gooo Lab
06/06 Orig CO Name:Yang Sheng Kai        Orig ID:770510487C Deso Date:      CO Entry Descr:lat                      119.82
        Paypalsec:Web Trace#:021000023127499 Eed:220606 Ind ID:1020528208811
        Ind Name:Gooo Lab Tm: 1573127499Tc
06/08 · 06/08 Online ACH Payment 5338794311 To Baerenterprisesinc (_##4055)                                    3,852.00
06/09 Orig CO Name:Paypal            Orig ID:Paypalsi77 Deso Date:220609 CO Entry Desor:lnst                     129.65
        Xfer Sec:Web Trace#:021000021938036 Eed:220609 Ind ID:Shein                   Ind
        Name:Gooo Lab
06/10 Orig CO Name:Paypal            Orig ID:Paypalsi77 Deso Date:220610 CO Entry Descr:lnst                        119.63
        Xfer Sec:Web Trace#:021000022236799 Eed:220610 Ind ID:lnstacart                Ind
        Name:Gooo Lab
06/13 Orig CO Name:Paypal ·          Orig ID:Paypalsi77 Deso Date:220612 CO Entry Descr:lnst                        108.59
        Xfer Sec:Web Trace#:021000028546861 Eed:220613 Ind ID:lnstacart                Ind
        Name:Gooo Lab



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        USDC IN/ND case 4:23-cv-00071-JEM                document 92-2           filed 10/15/24     page 46 of 236
        CHASEO                                                                 June 01, 2 0 2 2 t h r ~
                                                                            Account Number:   ~




!ELECTRONIC WITHDRAWALS! (continued)
 DATE    DESCRIPTION                                                                                            AMOUNT
06/21    Orig CO Name:Dukeenergycorpor      Orig ID:4700130001 Desc Date:Jun 22 CO Entry                        309.18
         Descr:Web_Pay Sec:CCD Trace#:021000027501797 Eed:220621 Ind ID:08503244061722
         Ind Name:1110415482 Tm: 1727501797Tc
06/21    Orig CO Name:Vectren Energy       Orig ID:1350793669 Desc Date:220617 CO Entry                         306.33
         Dascr:Pymt    Sec:PPD Trace#:074000065897461 Eed:220621 Ind ID:
         Ind Name:0262191494150023312Web Tm: 1725897461Tc
06/21    Orig CO Name:Paypal           Orig ID:Paypalsi77 Dase Date:220619 CO Entry Descr:lnst                   12.50
         Xfer Sec:Web Trace#:021000026177795 Eed:220621 Ind ID:Quickbooks                 Ind
         Name:Gooo Lab
06/27    Orig CO Name:Paypal           Orig ID:Paypalsi77 Desc Date:220627 CO Entry Dascr:lnst                   30.46
         Xfer See:Web Traee#:021000025761987 Eed:220627 Ind ID:lnstacart               Ind
         Name:Gooo Lab
06/28    Orig CO Name:lndiana-Amerie      Orig ID:7350936102 Dase Date:062822 CO Entry                           34.60
         Daser:Payment Sec:PPD Trace#:042000015227621 Eed:220628 Ind ID:
         Ind Name:Yinan Liu Tm: 1795227621Tc
06/29    Orig CO Name:Shen Zhen Qian H       Orig ID:770510487C Desc Date:    CO Entry Descr:lat                119.40
         Paypalsec:Web Traee#:021000029546490 Eed:220629 Ind ID:1020935719728
         Ind Name:Gooo Lab
06/29    Orig CO Name:Paypal           Orig ID:Paypalsi77 Dase Date:220629 CO Entry Descr:lnst                   37.19
         Xfer Sec:Web Traee#:021000026313817 Eed:220629 Ind ID:lnstacart               Ind
         Name:Gooo Lab                                                     •
06/29    Orig CO Name:Paypal           Orig ID:Paypalsi77 Dase Date:220629 CO Entry Descr:lnst                   29.51
         Xfer Sec:Web Trace#:021000026319819 Eed:220629 Ind ID:lnstacart               Ind
         Name:Gooo Lab
06/30    Orig CO Name:Att            Orig ID:9864031004 Dese Date:062922 CO Entry                                80.84
         Descr.Payment Sec:PPD Trace#:031100206350428 Eed:220630 Ind ID:
         Ind Name:Tiny Cocoons Inc Tm: 1816350428Tc
 Total Electronic Withdrawals                                                                            $92,498.31

IDAILV ENDING BALANCE I
DATE                     AMOUNT           DATE                    AMOUNT              DATE                       AMOUNT

06/01                  $25,854.06        06/09                   5,072.20            06/27                      4,159.95
06/02                    3,508.74        06/10                   4,952.57            06/28                      4,125.35
06/03                    3,473.74        06/13                   4,843.98            06/29                      3,939.25
06/06                    3,148.08        06/17                   4,835.05            06/30                      3,858.41
06/08                      73.85         06/21                   4,190.41




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       USDC IN/ND case 4:23-cv-00071-JEM                                   document 92-2                     filed 10/15/24          page 47 of 236
      CHASEO                                                                                               June 01, 2022 through June 30, 2022
                                                                                                  Account Number:          D3£ 3 I




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you thipk your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •      Your name and account number
         •      The dollar amount of the suspected error
         •      A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 1Obusiness cays (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during lhe time it takes
us to complete our investigation.                                        ·
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if_you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete aetails, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDlC

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USDC IN/ND case 4:23-cv-00071-JEM       document 92-2              filed 10/15/24          page 48 of 236
CHASEO                                                           June 01, 2022 through June 30, 2022
                                                              Account Number:    OS   I         r      -




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USDC IN/ND case 4:23-cv-00071-JEM                        document 92-2    filed 10/15/24    page 49 of 236




                                                                                    Yinan liu
  Invoice
  Invoice No.
  2022.0601.Tl A_A



    Description                                                       Amount

                                                                                    Date:
    Design Consultation Services and Projed                                         01 st June 2022
    Management for 20' 1iny House an Wheels:
                                                                                    Recipient:
    Initial Consultation (2 hours)                                       • $450
                                                                                    Tiny Cocoons Inc
    Fallow-up Consultation (2 hours)                                       $450
    Site Visits                                                            $850
    Preliminary Design Sketches                                          $1,200
    Concept Development                                                  $1,850
    Final Design Development                                             $2,000
    Material and Finish Selection Consultation                           $1,250
    Detailed Drawings, Interior Renderings,                              $3,200
    Exterior Renderings
    Projed Management (includes coordination                             $2,500
    with the builders)
    Revisions and Adjustments                                            $1,500
    Final Design Presentation Package                                    $1,100
    Fund to Purchase Refrigerator, Washer/Dryer                       $5,995.32
    Combo, and Interior Fixtures (hardware,
    hangers, etc.)




                                                                                    Consultant Mailing Address

                                                                                    2237 Delaware Dr, West
                                                                                    Lafayette, IN, 47906
                                                                                    United States


                                                       SUB-TOTAL   $22,345.32       Make check or transfer
                                                                                    payable to:
                                                         TAX(0%)           $0       Yinan Liu
                                                                                    Account No.: 529391200
                                                           TOTAL    $22,345.32      Routing No.: 074000010
  Thank you for the business                                                        (direct deposit & ACH)
                                               AMOUNT DUE (100%)    $22,345.32      Routing No.: 021000021
  Yinan Liu                                                                         (wire transfer)
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 :certified. Any changes to the specs ~ill need to be'.apprpved1by~the1:::iini h 1 ?•,J: .:u,! .2:::.•,>1.::rb ·1c •i;c:1 c,;>1.:1n., .i ;n:,l!',.- c:,nG r-,V
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 :5. Due to this hou~e being a custom build project with a very•tightltimlineJ. rd ·:-,:.r,:,i:, .,,[;-i,:: '-3 bi.inn 3<~/ ol, s :,; • ·::,1:r:ii Jm1"-, \1: ,
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 ;refunds. All moneys must be paid Pfiiorto start of the project.                                                                                         ~!'.J t·.nr:2 11nc:_, Ji;~:,: .. :_, '
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 7. Appliances are n,· ot included.      I             _:),\, b c,l!iiSlb~~s ,,;r!r r;11.}: (,Jijl-,':l ';'jf':,(' t ,!,ud ,<y::,v; 0; if;,,' ;1:-;ik:d) >-> ,(1'.f.Y,'.:                                                                                                        1

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                                           CERTIFICATE

            This is to certify that Yinan Liu, Female, born on May 19, 1987. She has studied
        in China University of Mining and Technology (Beijing) with a specialty of Land
        Resources Management from September 2005 to July 2009. Upon completing and
        passing all the required courses of the 4-year undergraduate program, she is granted
        graduation, then she is awarded a diploma certificate and Engineering Bachelor' s

        degree certificate in July 2009.

             Diploma Certificate No: 114131200905000155

             Degree certificate No: 1141342009000144

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USDC IN/ND case 4:23-cv-00071-JEM                                 document 92-2        filed 10/15/24                 page 132 of 236



     School Report From China University of Mining and Technology(BeiJing)
                                                         Name: Liu Ylnan            Birthday:     1987-5-1 9
                                                           Sex: Fema l e      Entrance Time:
                                                                                             -----------
                                                                                                  2005- 9-2
                                             Student ID: orn 1so121                  School:
                                                                                             -----------
                                                                                               orSchool s.r.,, Eacioeerioa
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                                                                  --------
                                            Study Level: Undergraduate Course         Major: Land Resour ces Management

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     N°'                                                  II'.,    Kflld ~laNBoa1   Cndit          Term            Seon         Remark
      I    General Chemistr y A                                     Core     64        4              I             80.3
      2    College Englishl                                         Core     64        4              1              83
      3    Advanced Mathematics A 1                                 Cor e    80        5              I             88.4
      4    Engineering Drawing C                                    Core     64        4              I              84
      5     Principle of Marxis■ Philosophy                         Core     32        2              I              81
      6     Ideological &Moral Cul t ivation                        Core     24       I. 5 ...        1              82
      7    College Sports I                                         Core     32        I              1              90
      8    The Application of lnfo11111tion Technology-based        Core     48        3              I              77
      9    C Programming                                            Core     48        3              2              86
      10   Col l ege Physics B                                      Cor e    80        5              2              79
      11   Col lege English2                                        Core     64        4              2              78
      12   Map Arranging and Tooographty Plotting                   Core     40       2.5             2              92
      13   Fundamentals of Law                                      Core     32        2              2              95
      14   Advanced Mathematics A2                                  Core     110       7              2              80
      15   Military Skills                                          Core     16        1              2              75
      16   Mili tary Theor y                                        Core     16        1              2              87
      17   General Surveying                                        Core     48        3              2             91. 9
      18   College Sports 2                                         Core     32        I              2              99
      19   Land Surveying Practice                                Optional   31        3              2              85
      20   Physical Exper i ment B                                  Core     45       l. 5            2              84
      21   Traditional Chinese Medical Diet Therapy Optional                 20        I              2              90
      22   Cr eation and Innovat ion                              Optional   20        l              3              85
      23   College English3                                         Cor e    64        4              3              81
      24   Cadastr ati on                                           Core     32        2              3             84.4
      25   Probability Theory and llatbeutical Statistics           Core     52        3              3             85.8
      26   Land Resources                                           Core     48        3              3             81. 3
      27   Computer Software Technology Base                        Cor e    48        3              3              87
      28   Principle of Marxism Polit ical Econ011ics               Core     32        2              3              76
      29   College Spor ts 3                                        Core     32        1               f'        ,l~!~ ,
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    School(Common Seal):
USDC IN/ND case 4:23-cv-00071-JEM                                      document 92-2     filed 10/15/24                              page 133 of 236



      School Report From China University of Mining and Technology(BeiJing)
                                                           Name: Liu Yinan           Birthday:       1987-5-1 9
                                                         Sex: Female           Entrance Time:         2005-9-2
                                                   Student ID: orn1so121
                                                              -------- School: Ser-I or .....,c.. "'" s.r.., _Eaaiouri ..
                                                  Study Level: Undergraduate Course    Major: Land Resources Management

      No.                     eo-.NilM                                  Kind t ... How   Credit               Term                 Score      Remer.k
       32   Introduction of Modern Biology                             Optional   20       I                      3                  80
       33   Li near Algebra A                                            Core     44       3                      3                  79
       34   Nutrition and Disease                                      Optional   20       l                      3                  80
       35   College English4                                             Core     64       4                      4                  81
       36   El ccLrical En1inccri n1 I F,lecLric•l TcchnolOtlr C         Core     72      4.5                     4                 92.4
       37   Management of Construction Land                              Core     32       2      ...             4                 92.5
       38   Economic Geography                                           Core     40      2.5                     4                 87. I
       39   Foundation of Spatial Database                               Core     40      2.5                     4                 83.3
       40     Introduction of Mao Zedong Thought                         Core     24      I. 5                    4                 83. 7
       41   College Sports 4                                             Core     32       I                      4                  62
       42   Land llanageoaenl and Land Archives llanageaenl              Core     48       3                      4                 78.6
       43   Land Management Practice                                   Optional   3W       3                      4                   A
       44   Soil Science                                                 Core     64       4                      4                 80.8
       45   Soil Science Practice                                      Optional   2W       2                      4                  95
       46   Foundation of GIS A                                          Core     64       4                      5                 94.6
       47    Don• Xhopln1 PrlMlplt -.d ThrM a.,NMftlat.l ... no.pt.a     Core     40      2.5                     5                  86
       48   Engineering Technical Economics                              Core     40      2.5                     5                  82
       49   Aerial Surveying and Remote Sensing                          Core     56      3. 5                    5                  88
       50   Course Deai,n for Aerial Su""' and Roaote Sensin1            Core     IIf      1                      5                   B
       51   Introduction to Architecture                                 Core     32       2                      5                 87. I
       52   Land Use Planning                                            Core     48       3                      5                 88.4
       53   Land Use Engineering                                         Core     48       3                      5                 89.4
       54   Land Assessment                                              Core     32       2                      5                 88.4
       55   Course Design of Land Information Syste■ Optional                     ow       1                      5                  81
       56   Error Theory and Data Processing                             Core     32       2                      5                  93
       57   Apply Operations Research                                    Core     48       3                      5                 84. 4
       58   Realty Management and Supervision                            Core     56      3.5                     6                 82.2
       59   Environmental Studies                                        Core     40      2.5                     6...               82
                                                                                                        ,.,
       60   Enterprise Management                                        Core     32       2     /                6            ~       8
       61   Regional Planning an-!!- RU1"8l 4!?:ogr8lllling              Core     32       2/ •
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       62   Life Science                            <-f                Optional   20       ( -                ~   6      ·:•       ~-"9's l
     School(Comrnon Seal): ,
USDC IN/ND case 4:23-cv-00071-JEM                            document 92-2              filed 10/15/24                               page 134 of 236



    School Report From China University of Mining and Technology(BeiJing)

                                                   Sex: Female                   Birthday:        1987-5-19
        Name: Liu Yinan
                                  Study Level: .llodefi[lldua.te CQ!ltle Entrance Time:
                                                                                         ----------
                                                                                                  2005-9-2
   Student ID: 0511150121
      School: School of Resources and Safety Engineering
                                                                                         ----------
                                                                                   Major: land Resources Management
     No.                 Coarse lhiiw"                       Kind Cla11Bow        Credit               Term                Score               Remark
      63   Ecol ogy                                          Core           40     2.5                       6              95
      64   Practice of Land Planning and Using Optional                     4W      4                        6              89
      65   Estate Management                                 Core           40     2. 5                      6             91. 5
      66   Estate Evaluation                                 Core           56     3.5                       7              75
      67   Subsidence Engi neering                           Core           40     2. 5                      7              87
      68    Land Reclamat ion                                Core           40     2.5                       7              84
      69   Major Course Desi gn                           Optional          3W      3            ...         7              85




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                                    Appendix-H
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                                    Appendix-I
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         CONTRACTOR SHAU COORDINATE;fHE)NTENT OF THE GENERAL NOTES                                                NOTED. MAl!'lf-'\~)>,!MENSIONS MARKED 'CLEAR." ALLOW FOR THICKNESS
         WITH ALL TRADES. ALL WORK PERFORMEti'SHALL COMPLY WITH CODES,                                            OF FINISHES.'=•'·.
        LAWS, ORDINANCES, RULES, AND REGULATIONS OF PUBLIC AUTHORITIES                                            lA.   CEILING HEIGHT DIMENSIONS ARE TO FINISHED CEILING SURFACES.
        GOVERNING THE WORK.                                                                                       15.   CONTRACTOR SHALL PROVIDE CONSTRUCTION BARRICADES OR
         2.     THE ORGANIZATION OF THE DRAWINGS SHALL NOT CONTROL THE                                            FENCING AS REQUIRED AND AS APPROVED BY THE CITY FOR PUBLIC
        CONTRACTOR IN DIVIDING THE WORK AMONG SUBCONTRACTORS OR IN                                                SAFETY PRIOR TO COMMENCING THE WORK.
        ESTABLISHING THE EXTENT OF WORK TO BE PERFORMED BY ANY TRADE.                                             16.   FIRE PROTECTION EQUIPMENT AND SERVICE ACCESS MUST BE
        3.       ALL MATERIALS AND WORKMANSHIP SHALL CONFORM TO THE                                               PROVIDED BYTHE CONTRACTOR DURING THE CONSTRUCTION PERIOD AS
        DRAWINGS. IF CONFLICT IS FOUND BETWEEN DRAWINGS & GENERAL                                                 REQUIRED BYTHE FIRE DEPARTMENT, AND SHALL COMPLY WITH ALL
        NOTES, CONSULT THE ARCHITECT FOR CLARIFICATION BEFORE                                                     APPLICABLE PROVISIONS OF CFC CHAPTER 33.
        PROCEEDING WITH THE WORK.                                                                                 17.   CONTRACTOR SHALL PROVIDE TEMPORARY EXIT SIGNS TO ASSURE
         -4.    IT SHALL BE THE RESPONSIBILITY OF THE CONTRACTOR TO CHECK                                          A MEANS OF EGRESS DURING CONSTRUCTION.                         •
         WITH THE ARCHITECTURAL DRAWINGS BEFORE                                                                   18.   CONTRACTOR SHALL AS NECESSARY PROVIDE SHORING DESIGNED
         THE INSTALLATION OF ALL OTHER WORK. ANY WORK INSTALLED IN                                                 AND DETAILED BY AN ENGINEER REGISTERED IN THE LOCAL PUBLIC
                                                                                                                  AUTHORITIES.
        CONFLICT WITH THE ARCHITECTURAL DRAWINGS
         SHALL BE CORRECTED BY THE CONTRACTOR AT NO ADDITIONAL COST.                                               20,CONTRACTOR TO OBTAIN AND PAY FOR PERMITS AND INSPECTIONS
                                                                                                                   REQUIRED BY PUBLIC AUTHORITIES GOVERNING THE WORK.
        5.      NO DEVIATION FROM CONTRACT DRAWINGS SHALL BE MADE
                                                                                                                   21.   CONTRACTOR SHALL OBTAIN NECESSARY PERMITS FROM LOCAL
         WITHOUT WRITTEN APPROVAL OF THE ARCHITECT.                                                 ._,,
         6.      SUBMIT REQUESTS FOR SUBSfflUTIONS, REVISIONS, OR CHANGES 1.                                       ~~~~:~THORITIES TO CONSTRUCT~ND)~?.t:~~,Tlt~~ME ON
        TO ARCHITECT FOR REVIEW PRIOR TO P~l\/:HASE, FAB~ct,TIO"! !).R                 '\l ',
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                                                                                                                       22.      WIRING.WITHIN ~ot:,.1cEALlD SPACES SHAU. c~JPLY 'to LACBC
        INSTALLATION. REFER TO SPECIFICATIQNS0" '·<>,, ~      . ~\ . K( ''b..../' •
        7.      COORDINATE WOR~ WITH THE,OY-(NER,\iNCLUDING'SCHEDULING                                              ·, 23,;, 1TEMP9~fED~¥titN,.PROTEOION SHALL BE PROVIDED AS .~
                                                                                                              <f,•, REQUIRED BY SECTION 3306.                             .,..        -·_,.• ·•· "\
   ,,f:TIMte,ND LQC(l.TION,(fOR'RELIVERIES~,B,\,Jitb1~G"ACCESS, USE OF                 ,J}'!:,,\:,;, .,
/(' ~,\!l':J>,1\-IG S~~VISE;_AND FACILITIES, AND USE OF ELEVATORS. MINIMIZE'{l'" ,;, ··•'.\
                                                                                                                '."~~4. \1PROVIDEcoNcEAi.ED BLOCKING AS REQU1R(tii:t>Rwoii1PsJi:H ~s\,'.;1
                                                                                                                1• BUT NOT LIMITED ro OWNER'S OTHER coNTRACToRs:,eo_dRDINATE WITH ' •
\'.~,,:DISTURBANCE OF BUILDING FUNCTIONS AND OCCUPANTS                            'c',                                 OTHER CONTRACTORS FOR SIZE, TYPE, AND LOCATION'Of. REQUIRED
 1ts~~f'/owNER WILL PROVIDE WORK NOTED "BY OTHERS' OR 'NIC' UNo'ER
                                                                                                                      BLOCKING.                                        \; · .\~;,,/
      '-SEPARATE CONTRACT. INCLUDE SCHEDULE REQUIREMENTS IN                           .,
                                                                                                                       25.      STORAGE, DISPENSING OR USE OF ANY FLAMMABLE OR
        CONSTRUCTION PROGRESS SCHEDULE AND COORDINATE TO ASSURE
                                                                                                                       COMBUSTIBLE LIQUIDS, FLAMMABLE GAS AND HAZARDOUS SUBSTANCES
        ORDERLY SEQUENCE OF INSTALLATION.
                                                                                                                       SHALL COMPLY WITH LOCAL FIRE CODE REGULATIONS.
        9.      DO NOT SCALE DRAWINGS. DIMENSIONS SHALL TAKE PRECEDENCE
                                                                                                                       26.      CONTRACTOR TO COORDINATE TELECOMMUNICATIONS, DATA AND
        OVER SCALES SHOWN ON DRAWINGS. GENERAL CONTRACTOR SHALL
                                                                                                                       SECURITY SYSTEM INSTALLATIONS.
         VERIFY ALL DIMENSIONS, GRADES AND CONDITIONS AT SITE PRIOR TO
                                                                                                                       27.      CONTRACTOR TO MAINTAIN EXITS, EXIT LIGHTING, FIRE PROTECTIVE
        COMMENCING THE WORK, AND REPORT ANY DISCREPANCIES TO THE
                                                                                                                      DEVICES, AND ALARMS IN CONFORMANCE WITH CODES AND ORDINANCES.
         ARCHITECT IN WRITING.
                                                                                                                       28.      CONTRACTOR TO PROTECT AREA OF WORK AND ADJACENT AREAS
        10.     REVIEW DOCUMENTS, VERIFY DIMENSIONS AND FIELD CONDITIONS                                              FROM DAMAGE. CONTRACTOR TO COORDINATE TRASH ACCESS.
         AND CONFIRM THAT WORK IS BUILDABLE AS SHOWN. REPORT ANY                                                       29.      CONTRACTOR TO MAINTAIN WORK AREAS SECURE AND LOCKABLE
        CONFLICTS OR OMISSIONS TO THE ARCHITECT FOR CLARIFICATION PRIOR                                               DURING CONSTRUCTION. COORDINATE WITH COUNTY TO PROVIDE




                                                                                                                                                                                                         I
        TO PERFORMING ANY WORK IN QUESTION.                                                                            SECURITY.
        11.      ALL SYMBOLS AND ABBREVIATIONS USED ON THE DRAWINGS ARE                                                30.      FIRE PROTECTION EQUIPMENT AND SERVICE ACCESS MUST BE
        CONSIDERED TO BE CONSTRUCTION STANDARDS. IF THE CONTRACTOR                                                    PROVIDED DURING THE CONSTRUCTION PERIOD AS REQUIRED BY THE
        HAS QUESTIONS REGARDING SAME, OR THEIR EXACT MEANING, THE                                                     COUNTY.
         ARCHITECT SHALL BE NOTIFIED FOR CLARIFICATION.                                                                33.WOOD BLOCKING SHALL BE FIRE TREATED IN ACCORDANCE WITH
        12.     WHERE A TYPICAL CONDITION IS DETAILED, IT SHALL BE                                                     APPLICABLE CODE REQUIREMENTS.
        UNDERSTOOD THAT ALL LIKE C>R SIMll:AR CONDITIONS ARE THE SAME                                                  31. ,· "<;,Ot-lTAACTOR:SHAU COORDINATE ALL WORK WITH THE CURRENT
        UNLESS SPECIFICAUY NOTED        6\
                                         DlrrAiLED.bTHERWlSE.                                                      -,~\ll[DIN~/LANDLORD'S TENANT DESIGN AND CONSTRUs;TION MANUAL( "\c-,
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To of Subfloor - st Floor
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USDC IN/ND case 4:23-cv-00071-JEM                              document 92-2   filed 10/15/24   page 182 of 236


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USDC IN/ND case 4:23-cv-00071-JEM                         document 92-2        filed 10/15/24   page 184 of 236




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USDC IN/ND case 4:23-cv-00071-JEM   document 92-2   filed 10/15/24   page 185 of 236




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     ELECTRICAL - DATA - AUDIO LEGEND
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 SYMBOL         DESCRIPTION
                                                                                      l
    ~ CelllngFan
    ~ e         Ventilation Fana: Celling Mounted, WaH Mounted       'O BEDROOM "      ~        LIVING ROOM              KITC.HEN
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D     Ell !Cl   Calling Mounted Light Fixtures: Surface/Pendant


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          Q
                 Recessed, Heat Lamp, Low Voll.age
                Wall Mounted Light Fixtures: Flush Mounted,
                 Wall Sconce
                                                                                 0                                   IB EB - 11°
      $         Chandelier Light Fixture

    C=:J        Fluorescent Light Fixture

          1it 2,40V Recepllle:le                                                          Eledr!Gal Plan V iew
Q '"'Q'""p      110V Receptacles: Duplex, Weather Proof, GFCI
                                                                            0
 $ '"'$ '$ ~    swttches: Single Pole, Weather Proof, 3JNay, 4-Way                                                                            I

      '"'$ '$   Swttchff: Dimmer, Timer

  l.,~I •$      Audio Video: Control Panel SWltch
                                                                        LOFT A                                           LOFTB

      @)-.. Speakers: CelPng Mounted, Wall Mounted

'"J;Z "°"g ~    Wall Jacka: CAT5, CAT5 + TV, TV/Cable                                                                     0                   C
          ~     Tele phone Jack

          X     Intercom

          q)    Thermostat

      ., ~      Door Chime, Door Bell Button

      E) .&     Smoke Detectors: CeKlng Mounted, Wall Mounted
                                                                                                                                                  •

       -.       Electrical Breaker Panel                                                                                                          ii


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                                                                                EledriGal Plan View                                               ~
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Wood Stud                   Board and Batten Charcoal
                            Grey Steel Siding
                                                               Natrual Wood Veneer
                                                               Facing
                                                                                                        Wall Base in White

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OSB Boord                   Cedar Siding                       Dark Wood Veneer Facing                  Ceramic Tile Backsplash

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 Tyvek
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HouseWrap                   Shou Sugi Ban Treated              Oak Veneer Facing                        Ceramic Floor Tile
                            Cedar Siding




Spray Foam lnsulotion       Oak Laminate Flooring
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                                                               Interior Wall Panel
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  Invoice                                                                                Yinan Liu

  Invoice No.
  2022.0601.Tl A_A



    Description                                                            Amount

                                                                                         Date:
    Design Consultation Services and Projed                                              01 st June 2022
    Management for 20' Tiny House on Wheels:
                                                                                         Recipient:
    Initial Consultation (2 hours)                                             $450      Tiny Cocoons Inc
    Follow-up Consultation (2 hours}                                          $450
    Site Visits                                                                $850
    Preliminary Design Sketches                                              $1,200
    Concept Development                                                      $1,850
    Final Design Development                                                 $2,000
    Material and Finish Selection Consultation                               $1,250
    Detailed Drawings, lnierior Renderings,                                  $3,200
    Exterior Renderings                  '
    Projed Management (includes coordination                                 $2,500
    with the builders}
    Revisions and Adjustments                                                 $1,500
    Final Design Presentation Package                                         $1,100
    Fund lo Purchase Refrigerator, Washer/Dryer                            $5,995.32
    Combo, and Interior Fixtures (hardware,
    hangers, etc.)




                                                                                         Consultant Mailing Address

                                                                                         2237 Delaware Dr, West
                                                                                         Lafayette, IN, 47906
                                                                                         United States


                                                          SUB-TOTAL   $22,345.32         Make check or transfer
                                                                                         payable to:
                                                           TAX (0%)             $0       Yinan Liu
                                                                                         Account No.: 529391200
                                                             TOTAL    $22,345.32         Routing No.: 074000010
  Thank you for the business                                                             (direct deposit & ACH)
                                                 AMOUNT DUE (100%)    $22,345.32         Routing No.: 021000021
  Yinan Liu                                                                              (wire transfer)
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                                                                                                                                                             .1f-:~J~~~·-~:                 -·(j                   -~ -~r-:~:. _- _      -1
           1. •     ,All WORK PERFORMED SH~U:'"COMPlY Wntt THE CONTRA.ct                                                                   • 13.        AllDIME~SIC).!'lS ARE TC> FACE OF CONCRETE, FACE OF CONCRETE •
           DOCUMENTS ANO DRAWINGS, INCLUDING:t'HESE GENERAL NOTES. THE                                                                        BLOCK WA\,tS/AN!i'l'ACE Of'ScttEDUIEO PARTITION UNLESS OTHERWiSE.-:. ..
           coNTJiAcroR sHAu cooR01NArem1t INTENT oF THE GENERAL NorEs                                                                         NoTEo. MA1~rAti,:j'.~!MENs10Ns MARKEo •aEAR.· Allow ~011·TH1ciNiiss- •
           WITH All TRADES. All WORK PERFORMED-SHAU COMPLY WITH CODES                                                                         OFFINISHES.''''-.. "-"                                                   , • -. : ••
         •LAWS, ORDINANCES, RULES, ANO REGULATIONS OF PUBLIC AUTHORm~s·                                                                       14,       CEILING HEIGHT DIMENSIONS ARE TO FINISHED CEILING SURFACES.:
      ,.GOVERNING THE WORK.                                    ,                           •                                                  15.      CONTRACTOR SHAU PROVIDE CONSTRUCTION BARRICADES OR--:·.
           2.       THE ORGANIZATION OF THE DRAWINGS SHAU NOT CONlROL THE                                                                     FENCING AS REQUIRED ANO AS APPROVED BYTHE CITY FOR PIJBUC- •
           CONTRACTOR IN DIVIDING THE WORK AMONG SUBCONTRACTORS OR IN                                                                         SAFETY PRIOR TO COMMENCING THE WORK.                                     , '.::. -__ • ...   •     •    -· ___   0
                                                                                                                                                                                                                                                                   -- .....   ···__   i
           ESTABLISHING THE EXTENT OF WORK TO BE PERFORMED BY ANY TRADE.                                                                      16..     Fl~E PROTECTION EQUIPMENT ANO SERVICE ACCESS MUST fe.=:-.: --.. : :.!=:·::- _ . _
           3,        All MAttRIALS ANO WORKMANSHIP SHALL CONFORM TO THE                                                                       PROVIDED BY THE CONTRACTOR DURING THE CONSTRUCTION PERIOD-AS· -- - • _,_                    1
                                                                                                                                                                                                                                             • __ • ·- _ •          • •• ---. . ·-- :
           DRAWINGS. IF CONFLICT IS FOUND BETWEEN DRAWINGS & GENERAL                                                                          REQUIRED BY THE FIRE DEPARTMENT, AND SHALL COMPLY WITH Au· - ....
           NOTES, CONSULT THE ARCHRECT FOR CLARIFICATION BEFORE                                                                            •. APPLICABLE PROVISIONS OF CFC CHAPTER 33.                •
                                                                                                                                                                                                                                                                                          ffi
          PROCEEDING WRH THE WORK.                                                                                                          • 17. • CONTRACTOR SHAU PROVIDE TEMPORARY EXIT SIGNS TO ASSURE
           <I. : -_ IT SHALL BE THE RESPONSIBILITY OF THE CONTRACTOR TO CHECK                                                                • AMEANS OF EGRESS DURING CONSTRUCTION.                                ,
           WITH THE ARCHITECTURAL'ORAWINGS BEFORE                                                                                             18. • CONTRACTOR SHAU AS NECESSARY PROVIDE SHORING DESIGNED
           THE INSTALLATION OF All OTHER WORK.           ANY     WORK INSTALi.ED. IN .                                         , ; •.          ANO DETAILED IIY AN ENGINEER REGISTERED IN THELOCAL PUBLIC.
           CONFl.lCT WITH THE ARCHRECTURAL DRAWINGS                                                                                            AUTHORITIES.                                                                      ••
           SHALL BE CORREC1'EO BY 'fl:IE CONTRACTOR AT NO ADDITIONAL COST,                                                                     20,CONTRACTOR TO OBTAIN ANO PAY FOR PERMITS ANO INSPECTIONS
           5.       NO DEVIATION FROM CONTRACT DRAWINGS SHALL BE MADE.                                     . - . , , . : :'.                  REQUIRED BY PUBLIC AIJTHORmES GOVERNING THE WORK.
           WITHOUT WRITTEN APPROVAL OF THE ARCHITECT. •                                                                                  .. • 21: ··CONTRACTOR SHAU OBTAIN NECESSARY PERMns FROM LOCAL
           6.       SUBMIT REQUESTS FOR SUBSTITUTIONS, REVISIONS, OR CHANGES, ,                               ..,;l                           PUBLIC J.UTHORlllES TO CONSTRUCT ANO SETTlE.JHIS TINY'HOME ON
           TO ARCHITECT FOR REVIEW PRIOR TO PURCHASE, FABRICATION OR "'/j), ' '"k;\                                            • :. ~ . WHEEL_$..'                                  , ,. 1-'i '\, '•I:;, .. ";\~,              ,
          INSTALLATION. REFER TO SPECIFICATif>Ns;r '.'\\           ii "_       i},li '-,t_     Y ., , •. :_ .. ,. _                 ~-- ., . 22._ ·: .. WIRIN~,,Wl~IN ~ONCfA\EP s·~4c):~~tfAI.LC6MPlV.To LAcec.'
           7.       COORDINATEWORKWITHTHEOWNER'ciNaUDING"SCHEOULING                                            . . . . 0 • . . . •, . , , ·23,, ,TEMP(?~RYrEDlj~IAN,PROTECTIONSHAllBEPROVIDEOAS -
    ,:;m,ie AND Lo&Tio111s··roi:i'oELivER1Es.,Bu1fui~G'Access use of ..                           .. ':/,~,~ .. - • .•/~;,"'.'-;,,;. ,,Reay1R~o av s!p!oN 3~Q6'.'·                                      ·•"'- ..    :,.<~·::,,,
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,t\,~ILDj!"G selvi.<:E~,ANO FACILITIES, AND. USE OF ELEVAT0 RS. MINI_MlzE'f~' ;;'•-,·, . '..{\.                        '\f:\:'~i4•,                }!,PROVIDE CONCEALED BLOCKING AS REQu,,eg~R.~ORK:~u~.H ~').,
\\•,-:;OJST!JRBANCEOFBUILOINGFUNCTIONSANOOCCUPANTS ;. , , -:':1,,.::C.                                              : • -.\:,'._:_;., -~ _BUTNC>TLIMnEOTOOWNER'SOTHERCONTRAClORS,:C09RDINATEWITH "
 'i:;c;:--~ii,'·J'OWNER WILL, PROVIDE WORK NOTED "BY OTHERS' OR~NIC". iJNJeit·;:                                  )            l,'      •. '. OTHER CONTRACTORS FOR SIZE, TYPE, ANO IOCA~Qtl:or:REQUIRED ' '
     •• ,. SEPARATE CONTRACT. INCLUDE SCHEDULE REQUIREMENTS IN. . • •.. , ',-.:,:".;.)/ - •                                               " BLOCKl?-IG,                                              '{}' if,/
           CONSTRUCTION PROGRESS SCHEDULE ANO COOROINATElO ASSURE - : •                                                                       ~5. -· ·STORAGE, DJSPENSING OR USE Of ANY FLAMMABLE OR
           ORDERLY SEQUENCE OF INSTALLATION. .. ... .. • ..                                ' '         ••                                     COMBUSTIBLE UQUIOS, FLAMMABLE'GAS ANO HAZARDOUS SUBSTANCES.
      9.     00 NOT SCALE DRAWINGS. DIMENSIONS SHALL TAKE PRECEDENCE                                                             SHALL COMPLY WITH LOCAL FIRE CODE REGULATIONS, _ _
      OVE~ SCALE~ SHOWN ON DRAWINGS. GENERAL CONTRACTOR SHAU                                                                     26.    CONTRACTOR TO COORDINATE TELECOMMUNICATIONS,. DATA ANO
   :· VERIFY AL(DIMENSIONS, GRADES ANO CONDmONS AT SITE PRIOR TO                                                                 SECURITY SYSTEM INSTAUATIONS,
   • COMMENCING THE WORK, ANO REPORT ANY DISCREPANCIES TO THE                                                                    27.   CONTRACTOR TO MAINTAIN EXITS, exn LIGHTJNG, FIRE PROTllCTIVE
      ARCHITECT IN WRITING. ·           -- ·--. ·. - · ..., '·                                                                   DEVICES, ANO AlARMS IN CONFORMANCE WITH CODES ANO'ORO.INANCES••
     10. •· REVIEW DO_CUMENTS, VERIFY DIMENSIONS AND FIELD COJ\lomoNS '. ·;                                                      28.   CONTRACTOR TO PROTECT AREA OF WORK AND ADJACENT AREAS'
     AND CONFIRM THAT WORK IS BUILDABLE AS SHOWN'. REPORT ANY • .       •                                                        FROM DAMAGE. CONTRACTOR TO COORDlt:!ATE TRASH ACCESS, ;..                                        " ,-,.
     CONFLICTS OR OMl~IONS TO THE ARCHITECT fOR ClARIFJCATION PRIOR                                                              29. . CONTRACTOR TO MAINTAIN WORK AREAS SECURE AND LOCKABLE                                        : ; .,-
     TO PERFORMING ANY WORK IN QUESTION.                    • , .. .                                                             DURING CONSTRUCTION, COOROINATll WITH.COUNTY, TO.P,ROVIOE
     11.  oALL:SYMBOL~ AND ABBREVIATIONS USED ON THE DRAWINGS/41E                                                                SECURnY.            •      .          ••  •       •    .'
     CONSIDERED TO .BE CONSTRUCTION STANDARDS, IF THE CONTRAcioR                                                                 30,   FIRE PROTECTl~N EQUIPMENT ANO SERVICE ACCE.SS MUST B):·   ,
     HAS QUE_STIONS 'REGAROING,,SAME,:OR THEIR EXACT MEANING, rile' -:                                                           PROVIDED DURING THE CONSTRUCTION PERIOD AS REQUIRED BY.THE ;- '
       ARCHITECT SHALL BE NOTIFIED FOR CLARIFICATION.     ,    • . .                         :.•                                 COUNTY.              •                            •     _ ••
   - · 12.   _INHERE A TYPICAL CONDITION IS DETAILED IT SHAU. BE· ,.                           •                                 33.WOOO BLOCKING SHALL BE FIRE TR~TEI> IN ACCORDANCE WITH •
     UNDERSTOOD THAT All LIKE'OR SIMll.:.\RiCONDJTIONS:UE THE SAME                                                                 APPUCABlE C(?,O~ RE~UIREMENTS.        •   '              "
   . UNLESS SPECIFICALLY NOTED            OR
                                 DETAILEP'OJHERWISE:_,. -'                                                                     .,, 31 • "' ·SO~CTOJV':fAU COORDINATE All WO~K WITH THE CURRENT·     ,( ·•·,,
       "_,. \•, ;l- "' {, \       \l \\
                               }i ',. ,,, -- · •                                                                      "'\          ~1/l~ING/ LANDLORD'S TENANT DESIGN AND CONSTRl.!<;TION ~UA!f ' \       ;:i,                      ,t                                                    ~
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Wood Stud                                 Boord and Batten Charcoal                    Wall Base in White
                                          Grey StHI Siding




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058 Boord                                 Cedar Siding                                 Oak Venffr Facing
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HouseWrap                                 Oak I.Gminate Flooring
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                                                                                       Marble Mosaic Tile
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Spray Foam Insulation                     White Wall Panel                             Black Mosaic Tile



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                                      26'-1" - - -
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                  4'-8"                 2'                    11 '-15/16" - - ~ · I



  in




                                                                         10 1/16"



                             GROUND LEVEL

                                    2145G FT


                                                   1st Aoor
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                                                                  1'-1115/16"




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                               JT~
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                                                             "'              2'-9 'l/16"
                                                             '
                                               12'-15/8"




                                    2nd Roor
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  Top of SubRoor - 2nd Floor~
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                   Header
                    6.0'
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                                  E>derlor Elevllltlon E!eGI:
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                         Hlg~~I Ridge
                            11.2'
                                          4'                                                                           8>
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              Too of Subfloor-2nd Aoor
                        6.1'
                      Header
                        5.8'



              To of Subfloor- st Floor
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                            Grade Level
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      15/16"           1'-8 1/16" 11'-4 3/8"- 4 15/16"                                       4 15/16"




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         2-5 15/16''


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                                    2nd Aoor



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       ELECTRICAL - DATA - AUDIO LEGEND


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  SYMBOL           DESCRIPTION


                   Ceiling Fan

                                                                                                  Ill
                   Venrnation Fans: Ceiling Mou,ted, Wall Mounted

                   Ceiling Mounted Light Fixtures: Surface/Pendant,
                    Recessed, Heat Lamp, Low Voltage
                   Wall Mounted Light Fixtures: Flush Mounted,
       db   0       Wal Sconce
                                                                                      GI          GI


                   Chandelier Light Fixture                                       0

     ~             Fluorescent Light Fixture

            qjll   240V Receptacle

n ..,1'H
H      11 "".h
            'H'    110V Receptacles: Duplex, Weather Proof, GFCI                            E:ledrlcal Plan View


  $ ..,$ \ \       Switches: Single Pole, Weather Proof, ~Way, 4-Way
                                                                             fr - - - - - - - - -==-"'--r,=::;:
                                                                                                           ~====::::::::::E ~ ~ ;=::;-,
        ""$ $      Switches: Dimmer, Timer
                                                                       R      I                                       Ill       19   0
   l•v"j" I •$     Audio Video: Control Panel, Switch
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        @ si>      Speakers: Ceiling Mounted, Wall Mounted             11
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c.,_,c~ fivl
 ~    ~ 'T'        wan Jacks: CATS, CATS+ TV, TV/Cable                 L~-                                            Ill



            ~      Telephone Jack

            ~      Intercom
                                                                                                            LOFT
            ~      Thermostat
                                                                                               E:ledrlcal Plan View
         m ~       Door Chime, [x)or Bell Button

        @ .:.      Smoke Detectors: Ceiling Mounted, Wall Mounted                                                                                  ~
                                                                                                                                                   ~
         .;-       Electrical Breaker Panel
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                                              Framing, Floor Plan View




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                                                         1'-10"                             1'-1 0'
                                                                          4'-10"
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                                    Appendix-J
                                                                                                                                                               _.. . .-.. --~:1'.-~r~\~_ -::-:.- -
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  oeieware·st .•. " ·------·---- - ------)
      West Lafayette, IN
      47906




           t}:~: •\l",[;,y:i~11;:;:t:'.;J;:.r,:(~:Q~ri~t(9n~1i:t.             ~.;;.=--"".:;..;.:.                 • •.   )!';;iJ~q~nt,i:tYli~t,i i,:li§z;;3P]i~,tt';;;:IY :,j;>?:{!JQ~Jy,f/::~,: :
  ~- Custom Build 28' Tiny House On Y"tleels                                  • - ·----; --- •• ·----· ·1~._1.;;rii',:~      ,;_~1,,~:\q.~i\;~~·-;;i .1~~~~7it4~j_~gp·_c; \f ~~,;?.1A~q:goj; .~:;
  1
   :- This quote is for a newly built unit :and custom non-~~9c,k,Jr,~ilffl'~:_1r.1rn K; r:)r·iirnit :mr:, .::h; ,u 1,:yH: Li:~ 2 ·;•rn , ·;3 ;, i-,:'l~., ,nc:if:--:u':Yl 1
                                '                                  I                  l                                     •..                                 '                •                   _.,                        '

   i - This unit will be'.214 framed with 2/6 floor joist stru~ure bolted to the                                                                      .c.:: b=;1-::.,::: 0:tuc.; L·: :):h::, I
  1
    special TTH base~railer unit.          i                   i ior, !!iw Iud ,:::i1: :;h'.)ili:1c;q2 Ls~·3r;,:,,i i :·!i\OV\ ot 1:\, icl s< ;;·,1 5-,:,,Jos; •::::n ;· .I' :
                                   1 11

  :' - This home will measure
                         +        8 6 x 28';with a maximum b.~lgt:ii1ofo1,~:~\.-s
                                                                       '·                                ~                   • ed: 0 , :-;s.•x·:::ri::
                                                                                    • • ,J,_i 0 ; 0.0:,r1 :li',r, --~'. ~,,c;.-;               -..            v 11, J:-,s-i\i,,s:, t·C: :I                 ~


  -Most homes end \JP right at 13' tall from the street level-;tq~-:..~QQ~<h~ \s: i:! :::8 :::n01 -2-c:- '.xwi' )\ic,t ed /!i\'i :~r,oii.r:i j;\~ r etm8 :.:A+u, 1
  transport safety. Toe home is 32' long
  .                                        I
                                              with the tongue• included.                                                    •                                        Jiuitr,,th,j;,::, ,: o; 1,
  ' - This home will be  I
                            completed upon' acceptance of al,I partj~.,:,«?f,~n.,
                                                                          ,_.
                                                                                      f, "!:iw r::-~:;'.l':,' , ·-i,ud Ti•Y ~u': r: ,xiis-ri i-n: ii(,d 2:\r 1j· c1 3t:C _;~ !
                                                                                                         1-                        -                                           I,..                                             I

  '.approved design With a 16 week bui_ld time frame st~ing at ti;l~;:,!TlQr/ : :iJ o~x1.o c~;i-:;--:·~,x :,r-J;.':1:.:,rt::;:1 OP,=;(: (li;·_1 t)~srH ,--:,r·i1: 111-i ;
  ;accepted build sift date. Any changes to the design ~ou~ .~f.f~t:P.r,i~ in, 1q 1:i:s:; <::.:.i t 2 , ,:·1 , a··:~·n'.)fi"i E,\ .:::.L•r::- iI, .-:n i ,is V:.h;, :·1. : ;
  :and timing.           1                 t                   !                              • .~::ni~ifi• \!'iS\ He~; t:;~""fnr: Hh:J r:.vr-: ~-1'J .e:~Br-tn 11.03!0,c !
  :- Heating and air Will be Mr Cool mini-split.               '                                   ~              ,(:;·ll 1LJl::• i! Jon ;j '')fflo'.·1 :;,;irU ~,,; rfii~1qlii°;:; ,: l
                                                                                                                                                           1


  : - Electrical will ~ 50 Amp with an ~V-style connectot unless                                                                                                           - •                •
  '                             l        •                                            ·'

  .otherwise
  ,             specified.
                         I                 :
                                           ,                   '          •
  .- Water heat will be tankless elctric.:                     I

  : - Incoming fresh i,/ater and outgoing waste water wm: be stubbed off
  !outside
  I
             of the hort,e
                      •
                            with standard s,hut
                                           •
                                                off valves.    i
  ! - This pricing do$ not include appliances.
   '                     I                 '
  .Notes:                i                 i                   ;
  11. This project is 6eing quoted as a standard custom build project. We
  I                      t                                     I     ·
   'expect minor adjustments to the plan. Any major adjustments
                                '                              l   .
                                                                   I
                                                                              will be
  discussed at the time of the request'..                      1

  '.2. All basic lumbe~ materials will be purchased within the first 2 weeks
  I

• ;of this order. Any ~ramatic increases in material price or delivery will
  :be discussed with the buyer at the time of material purchase.
  '                             '                                  1                   '            .


              --------------·- .._ ··-- -- -.--•--- --------· - . ------·-··· --
  !   ·::·6. GS:l•, t'~f.1                      if; ntdJJ!?:                                                                                      Subtotal                                                         $21,420.00
  r- ----~-.. --
  ·; (~{-~ ·?(~~\, ~ :,~                                                                                                                         Sales Tax (7.0%)                                                   $1,499.40
                             - -- •.,_ - ----- --   • ---   ·--- • \                                          ,                                 ~J;t·\{Z--ti:,;_;.~-~

  ~"~~~~-t9~~!~-Sq~~~~-~~~~-~~~r• companies to Q~~~~~i1r-'!!~i e-:r r,,,;,•,,,;r;;,c;;:, ". :J~t~l~t,
                       USDC IN/ND case 4:23-cv-00071-JEM                                                                              document 92-2                                                         filed 10/15/24                                       page 228 of 236
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Tl!'.IY_ C9-co9ris_' _-__:~--':-~· _~'-'_'~,~~:~~~- -::-i
DelewareSt
West Lafayette, IN
47906

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                       ~ ____________________: ____ 091t_o12t _____ J __________________ L __ _ os1Jo12t ____________________________ .. _______;
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3.1Efweekdeiivery is.basect·drhegularworkweeks without                                                                                                    ::i:;,'.:'./!V\ :iG 02uoL.J yr,ff 'F .. '. b!i•)j ",Jn:tBL1::! J
.interuption, changes, missed approvals, and timing c~mmunic~tibh~oh' -nnn ni:;1·2u:, br ,:. ;;r;u ;i,i l(_i \:l':J ,;rt s ,,:-: ::i ,_,f,:) Jf) tir:': -
critical build details
)                                                 ,      •
                                                               !                            :E •',j 0/ t·::it!v:; (;ij;_, J'.-1 :·:,'; '.i,:'JO( ··::,ci!l 6' ~'. .-11,•·. b·3i'7c,·1i ;':·'.S s,; t/li'i j,r,u -:ir:: ..
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,4. This house will be built to NOAH general specifications, but will not                                                                                                          .:i; .d -:sn::--i-1 •-;,8sd t-Tf i-_,h, ,qt :                                                                                            0



:be certified. Any changes to the specs will need to belappr6vecfby'.the ff!Uf'iii;,Sl'"! _; :\nw ·s·:.: '/ ··~y;3 'J·:ur:.r~;:,r •. ;;;'JJ '.:,lfl'~Jf) "~irrr - I
:builder. State regulations will be followed as long as t~ey sh~dfprior\", l't;\ JC-''(:3 'c;i'\; n :G'i. !llsJ 'f; lt 'ri()h qi l)/1';;'; ::.:·,, l i(i;; tt;c:;11 :
to installation.            .                                  j                            '           .i id:u!oni ,,'.J'},mt ~:;lr f'i:!iN r~ ;ot '•,;f ~i ,:.,,, ,or1 rd i .\11-?iGe: ! ,c·'7'," ·,;·i; i
·s. Due to this house being a custom build project with a vei\i:tigfitl1G'\ l f- lo f,'.)n.s1'<'p·.Y:E: ,0qu i:.v:)1;~\,::; ,n.> 2 .\ \\k: t~ff;,:)1! 2.i;ff •• j
timline, there will be no cancelation accepted once th~ home•isU L ,_; -;(; lBh (:i'.':'i,SYl '.:itllil- bi w:: ; ;('i::)V,_' ,3 r ;, rbv ; ,[;;:-d· 1 L~·::-:·1m1.1r.; .•: i
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started and no refµnds. All moneys r;nust be paid prio~ t6'istarf'ofttheV:·, ) :-•iJ!20L, ')I J n7 ;,~ ;y,<::,,'j '{i i. 1\ ,('>:S,) i, iii'.: hnu-_; i_;•f:lqr-:.-:;:, :
 project phase. Delays will affect delivery timing.                                         1                                                                                                                    ;nl,n11 &)/ :::. :
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6. Shipping of this home is not included.                                                                                                                                             1
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    West Lafayette, IN                                                                                                                                                                                                                                                                      t"·;i :;:•~(;~:•[E.Lr_.. _~ i•t:::J\:l_i ,
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;1. Custom Build 28' Tiny House On Wheels                          i                      Juc;i !;t ,,., z;;2;;1P-~1uw ·i£!i :p<,)17.'-i1,4QP__;OQ ,j \ ")\ 12.1.42,Q,POT?· .,-..                                                                                                                   1




: - This quote is fo~ a newly built unit land custom non-s~q,q~::tr.~i!~-L',:VT1· ,.::, r:' 1i! riiJ h~£ ,air;;• .;.1,_1(1;::, '.:,,0,;-:f;iff1 ,:c,,', ,.-1~.,r,: _; ,.-1u1E;t r-s··: n: i
  ·.-This unit will be;2/4 framed with 2/6 floor joist structure bolted to the                                                                                         .., :,,-J'.::h '.ilii,.;l\ h;~;o,;i::, '.
  'special
   ,        TTH  baseitrailer   unit.         !
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  : - This home will r1neasure 8 6 x 28'i with a maximum 6,~!gtitQf,1,3}~J'w.:;· .·_,r_; ~~1 i·,::.",n !!iw •:.;;; :;Cc, c !i ,•,i· :'-~ir:1 LG:rl) ;r ,r:,. .bG;/ifr:l'-' '°I : i
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                        I                     '                    :         '                                                                 •                                  •                            '
 JMost    homes end µp      right at 13' tall from the street le"'.el,f~mac:1ge_d1':.         v,_.; ,; 2 ,, ,.,rir::         :iE :ii'l/!, ;Hoi ,::.,~ Hl•.v 8 n,)1;·-;!. ; 0.-.:. •)_1r,n J'."li_,i., ,,_; i
   '                    '                     I                              • •               ..               '                                                            ....                              \

    transport safety. ,:-he  home   is 32' 1099  with the tongue      included.                         •                                                                           .r•c;irnHs·Jw1·      ()1 i
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     -This home will~ completed upo9 acceptance of all part.i~~ 19f{a_n1 i-; ·:iiw i: "°·tC-1'10. bli' Kl 1)1;!2uo re ~-;ii'.~,; 1:,1- jc:rl cir:: ,,r mi1_; ....~:
:approved design r'ith a 16 week bujldtime frame star;ting at tl}~ern,-)d, dl s:F,o k;J-•:.:9-:::.ir Miif:!0~_:n:: --"' or, ~< i!:,1 r:;~,:::/: ,011dn·,;; :
:accepted build slc;>t date. Any chanQes to the design cou!g ;~ff~tpric,e ,ohq bi1:.;q 1x! i'2u1-r, 2'.f0ne::T, if/\ .et.;E •'.e, on IJiv~ •:-::i:c 1,;_i-~, :
iand timing.            :                     1                                                                      cnim.1 '{1-"'" ,1f;lJ 1--::,11.'; Hiw "'.{G :::G .~)"'..:;:·:, 1 '.':.>:: _,_,,:~
  '• - Heating and air;will
                        l
                             be Mr Cool mihi-split.
                                               I                    t
                                                                                                                                     .;x)r i :i;_,. 1; Jun 2.i 0u:cri -+11 >) :}_-1\f<:f:·.;; .c ;_
  1 - Electrical will ~ 50 Amp with an i,v-style connector unless

iotherwise specified.                    .    ;                    ;            .
1- Water heat will be tankless elctric:j                            •
  ' - Incoming fresh ~ater and outgoing waste water will be stubbed off
   '                                                                I

 ,:outside of the home  ,  with standard shut  I  off valves.      :
l' - This pricing do~I not include appliances. .            .
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  •Notes:               I                      j                                                                                i                 , ·
  :1. This project is ~eing quoted as a ~tandard custom build project. We
·expect minor adjtistments to the plan. Any major adjustments will be
                                               '                    '
                                                                    1
  ;discussed at the ~ime of the reques(.                                        •

]2. All basic lumt>e'.r materials will be purchased within ~he first 2 •weeks
!of this order. Any ~ramatic increase$ in material price ;or delivery will
                        •                      '                    I
   ,be discussed with the buyer at the tjme of material purchase.
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    cc.:.ns.p;. ;--s;~                                                          :.s!(~Jciu,?,;                                                                                                                                                      Subtotal                                                     $21,420.00
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                                                                                                                                                                                                                                                    Sales Tax (7.0%)
                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                                       $1,499.40

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                USDC IN/ND case 4:23-cv-00071-JEM                                                             document 92-2                                          filed 10/15/24                            page 230 of 236
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  i4. This house will be built to NOAH general specIf1cat1ons, but will not                                                                            , r, :._, .,,.i,, 11 ' ?,-,.__, ··1, 1 ,t,,__,a,;J-_. :
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  1be certified. Any ~hanges to the SMCS will need to b~ appr6ved'by::ttie ,,·-.ti:·:-,:.-;,,r, Fi 1Hl,fi 'HS: X ·'?';, s· U',]':.::; :liv/ ·c:rnul l"irfT .
  'builder. State regulations will be followed as long as t6ey sharecl!prior:·: ,,_,; i~;-Y, :: :::v·q r,·/n Hci '!.-: 1L r;I:·\, :·;1. ':r,,_, ::"'ir11cir·1 .;2ct·~!:
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  :s. Due to this hou:se being a custo"l build project wit~ a verytighiJisr·, l 13 ;(J 2:::iris~cp:),'-c 1•;:tfJi-! 1:,?,.,· ..,,·:rr,'.).'.) :::: i lli-.:1 -xr::x 1 "'"i: · :
  '• Iine, t here will be no cancelation accepted once the home(is 1 T,; ii; ,,n'."J"<? .>:.,•-r:r ~.·-,:: ,~ 'Kt) 1• ·~e1": 1: 1 s 11,i'1', 11·)1,-:2,}l 1,~_.,vo- ,::,w j
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  :started and no refunds. All moneys hlust be paid prio~ t<fstart-t>fttiei_;.:; npi2'.i~b ,.Jii c,j fh ?• 1i:J;) ','. u\ ,::-,r•.;;b j, de :)!iud t")1(Y:,)'.;:::: i
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  ;project phase. Delays will affect delivery timing.      !                                                                                                                              .1.pirr;t• bn,,, I
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  ~- Shipping of this home is not inclu~ed.                                                                              .\i!q::<r itn 1'2c<.) ,:v: ,... d i!i•,'. ·i;;, ::•r•E- Qniic::,:·! • :
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                                    Appendix-K
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                    THIS CERTIFICATE HEREBY CERTIFIES THAT




                                      Yi nan·. Liu
                                     HAS ATTAINED THE DESIGNATION OF



LEED AP BUILDING DESIGN+ CONSTRUCTION.
       . BY DEMONSTRATING KNOWLEDGE OF GRE.EN BUILDING PRACTICE REQ,UIRED FOR
   SUCCESSFUL IMPLEMENTATION OF,THE LEADERSHIP IN ENERGY AND J;NVIR:ONMENTAL DESIGN
                                  (LEED®) GREEN BUILDING RATING s.YSTEM™.'



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  November·8, 2011                                  10693578                                     November 7. 2013    ·□□□
      Date Issued                                Identification Number                                  Exp. Date
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                                    Appendix-L
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     PROJECT EXPENDATURES

     $34,000 - Initial base build. Lower level framing, sub floor structure, trailer,
     windows, insulated haul, decking, design plan .:.. material and labor
     $9,300 - Reconfigure door /windows placement, 2nd loft, bump out - material and
     labor
     $11,000- Upper level framing minus loft- material and labor
     $2,500 - Steel roof and trim - material and labor
     $11,800 - Cedar siding- material and labor
     $2,200 - Door, window adds, custom picture window - material and labor
     $2,100 - Electrical panel change, wiring, fixtures - material and labor
     $2,300 - Spray foam insulation - material and labor
     $1,800 - Loft T & G, support - material and labor
     $3,500 - Heating & Air - started, not complete
     $5,500 - Cabinets - started, not complete
     $2,300- Flooring - not complete
     $1,800 - Plumbing - not complete
     $3,500 - Bathroom shower, sink. Stool, tile - started, not complete

     LABOR,

     Over the course of this build project, we used 2 primary builders in addition to
     myself, with added help from the Hispanic community. Labor was paid in cash for
     direct workers. Specialty service labor was used for items like heating and air. We
     also had various teenage workers from the lo~al high school in the early phase of the
     build.

        1) Nicandro Herrera - Hispanic labor consultant Nie was the primary on initial
           framing efforts. He used a few different Hispanic resources to assist him.
        2) Ron Thomas - Project manager. Ron covered many aspects of the build,
           including finish framing, cedar siding install, window placement, door
           installation, insulation, and trim work. Rom worked alone or with me
           directly.

     MATERIALS

     A majority of the materials were bought locally at Menards, Home Depot, and Lowes.
     We use multiple window suppliers, steel suppliers, etc. Specialty products, like
     cedar, were purchased direct from mills at the time of this build. The mills use
     brokers for the most part Materials were often bought in bulk early on and product
     was used on multiple projects.
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     EXPLANATION

     At the current time I am unable to obtain receipts with the closure of the business.
     The bank took possession of the property and all items that were locked inside. We
     have been unable to negotiate release of computers, documentation, equipment,
     tools, supplies, or personal items.

     The best receipts we have for proof of build are the photos of the tiny house and
     customer communication that has previously been submitted. The customer
     reviewed the home on 2 separate visits and via multiple video chat conferences. We -
     also spoke with their site developer on one occasion.

     In regards to acquiring addition banking transcripts, I have contacted Bank Of
     Wolcott in Monticello, Indiana in efforts to obtain these records. With the close of all
     accounts leading up to and the closure of the business, it has been difficult to do. All
     online accounts have been locked and archived. I have spoken with a clerk who can
     research my accounts for a fee. This process is a work in progress.

     3-Mo. TIMING RESPONSE

     In reference to the 3-month guaranteed timing schedule, it was made very clear that
     3 months was the BEST timing to finish the existing build with no changes. Many
     changes were made to the original design upon the customer's request

        1) Added 2nd loft; added
        2) Change door location from rear entry to side entry.
        3) Window location from sides to accommodate the door changes.
        4) Picture window added to the hitch end.
        5) Bump-out reconfiguration to match loft changes.
        6) Change siding from painted OSB flat lap siding to cedar T & G siding.
        7) Electrical service upgrade from 100 amp to 200 amp.
        8) Bathroom moved from front to rear.
        9) Total electrical redesign from flipping the floor plan layout and added 2nd
           loft.

     There was a delay on the big picture window and the cedar add was much more
     expensive with heightened material prices and availability. These changes were
     discussed verbally and approved by the customer. At one point the customer offered
     additional capital to pay for the extensive changes. I told the customer that we
     would hold until we were farther along before totaling those charges.

     I would also like to mention the dramatic changes were made on the fly going into
     the winter months, in which we slowed the pace down due to weather restrictions.
     These restrictions were discussed with the customer.
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     PREVIOUS CUSTOMER LAWSUITS

     At the time of the Weiskopf build, there were other projects in process of
     completion, rescheduling, abandonment, and cancelation. There were 4 projects
     that were tied up in court due "non-cancelation" clauses in the contracts. In all cases
     both parties were understanding to the incredible increase in material pricing and
     extended lead times. In 3 of the cases, I agreed, without a lawyer, to repay the
     money spent with the company in full, also paying 8% interest and legal fees. The 4 th
     case was litigated over an extended time and dropped.

     Repayment of those projects was done through various means, mostly through the
     sale of personal equipment assets of my CN C business and the tiny home venture.
     The Weiskopf project was a resale of an existing build.

     The funds from the Weiskopf build were used to build his home that was cancelled
     approximately 7 5% through completion. The best material evidence of this fact was
     the house, in which Mr. Weiskopf visited 2 times during the build and was pleased.
     This is documented in previous submissions.

     Material for varying phases of the build are often bought in bulk and shared across
     multiple projects. The same is true of labor and o,ther aspects of running a small
     business, especially during trying economic downturns.
